Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 1 of 314 PageID #:
                                    4605




                  EXHIBIT 12




                                                            Docket No. 109
                                                            Filed: 2/2/24
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 2 of 314 PageID #:
                                    4606
                                                          108


      Claims:
          1.    A bifunctional compound according to the chemical structure:
                                                       iI LINKE
                                             CON h                              CON

                              CPBM                                                            CRBM
                                        k'


               Wherein [CPBM] is a Circulating Protein Binding Moiety which binds to a circulating
      protein which mediates a disease state and/or condition and is to be removed by the action of
      hepatocytes or other cells on the circulating protein (the compounds preferably selectively
      binding to the CPBM in plasma of the subject or patient);


               [CRBM] is a cellular receptor binding moiety which binds to hepatocytes or other
      degrading cells through asialoglycoprotein receptors of hepatocytes or other cell receptors
      which are on the surface degrading cells in a patient or subject;


               Each [CON] is an optional connector chemical moiety which, when present, connects
      directly to [CPBM] or to [CRBM] or connects the [LINKER] to [CPBM] or to [CRBM] and


               [LINKER] is a chemical moiety having a valency from I to 15, 1 to 10, 1 to 5 or I, 2
      or 3, which covalently attaches to one or more [CRBM] and/or [CPBM] group, optionally
      through a [CON], including a [MULTICON] group, wherein said [LINKER] optionally itself
      contains one or more [CON] or [MULTICON] group(s);
               k' is 1 to 15, 1 to 10, 1 to 5, 1 to 3 or 1, 2 or 3;
               j' is I to 15, I to 10, 1 to 5, I to 3 or 1, 2 or 3;
               h and h' are each independently 0 to 15, 1 to 15, 1 to 10, 1 to 5, 1 to 3 or 1, 2 or 3;
               it is 0 to 15, 1 to 15, 1 to 10, 1 to 5, 1 to 3, or 1, 2 or 3, preferably i L is 1 to 5 or I , 2 or
      3 with the proviso that at least one of It, h' and iL is preferably at least 1, or
      a pharmaceutically acceptable salt, stereoisomer, solvate or polymorph thereof.
          2. The compound according to claim 1 wherein k', j', h, h' and iL are each
      independently I, 2 or 3.
          3. The compound according to claim 1 or 2 wherein k' is 1 and j' is 1, 2 or 3.
          4. The compound according to claim] according to any of claims 1-3 wherein
               [CPBM] is a [MIFBM] moiety according to the chemical structure:




                                                                                                                     DEFS00033774
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 3 of 314 PageID #:
                                    4607




                  EXHIBIT 13
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 4 of 314 PageID #:
                                    4608                 NAL SEARCHING AUTHORITY
                                                                       To:
                             PCT                                               DOYLE, Kathryn
                                                                               Saul Ewing Arnstein & Lehr LLP
      NOTIFICATION OF TRANSMITTAL OF
                                                                               Center Square West
   THE INTERNATIONAL SEARCH REPORT AND
                                                                               1500 Market Street, 38th Floor
 THE WRITTEN OPINION OF THE INTERNATIONAL
                                                                               Philadelphia, PA 19102
 SEARCHING AUTHORITY, OR THE DECLARATION
                                                                               United States of America
                         (PCT Rule 44.1)
 Date of mailing (clay/month/year)
                 15 August 2019 (15.08.2019)

Applicant's or agent's file reference
                          Y03-182PCT                                   FOR FURTHER ACTION See paragraphs 1 and 4 below

International application No.                                          International filing date (dayhnonth/year)
                     PCT/US 2019/026260                                                       08 April 2019 (08.04.2019)

Applicant
YALE UNIVERSITY



  1.   E The applicant is hereby notified that the international search report and the written opinion of the International Searching
             Authority have been established and are transmitted herewith.
             Filing of amendments and statement under Article 19:
            The applicant is entitled, if he so wishes, to amend the claims of the international application (see Rule 46):
             When?      The time limit for filing such amendments is normally two months from the date of transmittal of the
                        international search report.
            How?        Directly to the International Bureau of WIPO, preferably through ePCT or on paper to, 34 chemin des Colombettes
                        1211 Geneva 20, Switzerland, Facsimile No.: +41 22 338 82 70
            For more detailed instructions, see PCT Applicant's Guide, International Phase, paragraphs 9.004 — 9.011.

 2.    pi The applicant is hereby notified that no international search report will be established and that the declaration under
            Article 17(2)(a) to that effect and the written opinion of the International Searching Authority are transmitted herewith.
 3.    111 With regard to any protest against payment of (an) additional fee(s) under Rule 40.2, the applicant is notified that:

              111   the protest together with the decision thereon has been transmitted to the International Bureau together with any
                    request to forward the texts of both the protest and the decision thereon to the designated Offices.
                    no decision has been made yet on the protest; the applicant will be notified as soon as a decision is made.

 4.      Reminders
        The applicant may submit comments on an informal basis on the written opinion of the International Searching Authority to
         the International Bureau. These comments will be made available to the public after international publication. The International
         Bureau will send a copy of such comments to all designated Offices unless an international preliminary examination report has been
        or is to be established.
        Shortly after the expiration of 18 months from the priority date, the international application will be published by the
        International Bureau. If the applicant wishes to avoid or postpone publication, a notice of withdrawal of the international application,
        or of the priority claim, must reach the International Bureau before the completion of the technical preparations for international
        publication (Rules 90bis.1 and 90bis.3).
        Within 19 months from the priority date, but only in respect of some designated Offices, a demand for international preliminary
        examination must be filed if the applicant wishes to postpone the entry into the national phase until 30 months from the priority date
        (in some Offices even later); otherwise, the applicant must, within 20 months from the priority date, perform the prescribed acts for
        entry into the national phase before those designated Offices. In respect of other designated Offices, the time limit of 30 months (or
        later) will apply even if no demand is filed within 19 months. For details about the applicable time limits, Office by Office, see
        www.wipoint/pcUen/texts/time_limits.html and the PCT Applicant's Guide, National Chapters.
        Within 22 months from priority date, the applicant may request that a supplementary international search be carried out by a
        different International Searching Authority that offers this service (Rule 45bis.1). The procedure for requesting supplementary
        international search is described in the PCT Applicant's Guide, International Phase, paragraphs 8.006-8.032.

Name and mailing address of the ISA/RU:                                   Authorized officer
Federal Institute of Industrial Property,
Berezhkovskaya nab., 30-1, Moscow, G-59,                                                             T. Vladimirova
GSP-3, Russia, 125993
Facsimile No: (8-495) 531-63-18, (8-499) 243-33-37                        Telephone No. 499-240-25-91
Form PCT/ISA/220 (July 2017)




                                                                                                                                         DEFS00049726
     Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 5 of 314 PageID #:
                                         4609

                                                  INTERNATIONAL SEARCH REPORT
                                                          (PCT Article 18 and Rules 43 and 44)
Applicant's or agent's file reference                                    FOR FURTHER                                 see Form PCT/ISA/220
                 Y03-182PCT                                                ACTION                          as well as, where applicable, item 5 below.
International application No.                                 International filing date (day/month/year)       (Earliest) Priority Date (day/month/year)
              PCT/US 2019/026260                                    08 April 2019 (08.04.2019)                       09 April 2018 (09.04.2018)

Applicant
YALE UNIVERSITY


This international search report has been prepared by this International Searching Authority and is transmitted to the applicant
according to Article 18. A copy is being transmitted to the International Bureau.

This international search report consists of a total of                      5           sheets.

           1
           -     1 It is also accompanied by a copy of each prior art document cited in this report.

1.     Basis of the report
      a.       With regard to the language, the international search was carried out on the basis of:

                 E the international application in the language in which it was filed.
                       a translation of the international application into                                            , which is the language of
                       a translation furnished for the purposes of international search (Rules 12.3(a) and 23.1(b)).

      b.           This international search report has been established taking into account the rectification of an obvious mistake
                   authorized by or notified to this Authority under Rule 91 (Rule 43.6bis(a)).

      c. n         With regard to any nucleotide and/or amino acid sequence disclosed in the international application, see Box No. I.

2.         n       Certain claims were found unsearchable (see Box No. II).

3.         n       Unity of invention is lacking (see Box No. III).

4.    With regard to the title,

           n the text is approved as submitted by the applicant.
           ri the text has been established by this Authority to read as follows:

5.    With regard to the abstract,

           ri the text is approved as submitted by the applicant.
           ri within
              the text has been established, according to Rule 38.2, by this Authority as it appears in Box No. IV. The applicant may,
                      one month from the date of mailing of this international search report, submit comments to this Authority.

6.    With regard to the drawings,
     a.        the figure of the drawings to be published with the abstract is Figure No.

                      as suggested by the applicant.

                      as selected by this Authority, because the applicant failed to suggest a figure.

                      as selected by this Authority, because this figure better characterizes the invention.

     b.    Fi none of the figures is to be published with the abstract.
Form PCT/ISA/210 (first sheet) (January 2015)




                                                                                                                                            DEFS00049727
                                                              No.
     Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page  6 of 314 PageID #:
             INTERNATIONAL S             4610                 /US 2019/026260


 Box No. H Observations where certain claims were found unsearchab e (Continuation of item 2 of first sheet)

This international search report has not been established in respect of certain claims under Article 17(2)(a) for the following reasons:

1.     pi Claims Nos.:
             because they relate to subject matter not required to be searched by this Authority, namely:




2.     pi Claims Nos.: 31
             because they relate to parts of the international application that do not comply with the prescribed requirements to such an
             extent that no meaningful international search can be carried out, specifically:
             Claim 31 contains a reference to the drawings in relation to the technical features of the
             invention, that contrary to in accordance with PCT Rule 6.2 (a).


3.     Fl    Claims Nos.: 4-30
             because they are dependent claims and are not drafted in accordance with the second and third sentences of Rule 6.4(a).


Box No. III Observations where unity of invention is lacking (Continuation of item 3 of first sheet)

This International Searching Authority found multiple inventions in this international application, as follows:




      n     As all required additional search fees were timely paid by the applicant, this international search report covers all searchable
            claims.

      n     As all searchable claims could be searched without effort justifying additional fees, this Authority did not invite payment of
            additional fees.

      n     As only some of the required additional search fees were timely paid by the applicant, this international search report covers
            only those claims for which fees were paid, specifically claims Nos.:



4.     ri No required additional search fees were timely paid by the applicant. Consequently, this international search report is
            restricted to the invention first mentioned in the claims; it is covered by claims Nos.:



Remark on Protest                ri T•payment
                                          he additional search fees were accompanied by the applicant's protest and, where applicable, the
                                                  of a protest fee.

                                 ri feeT• hewas
                                             additional search fees were accompanied by the applicant's protest but the applicable protest
                                                not paid within the time limit specified in the invitation.

                                 ri N• o protest accompanied the payment of additional search fees.


Form PCT/ISA/210 (continuation of first sheet (2)) (January 2015)




                                                                                                                                     DEFS00049728
    Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 7 of 314 PageID #:
        INTERNATIONAL SEAR              4611                 2019/026260

A.         CLASSIFICATION OF SUBJECT MATTER
                                                                                 (see extra sheet)

According to International Patent Classification (IPC) or to both national classification and IPC
B.    FIELDS SEARCHED
Minimum documentation searched (classification system followed by classification symbols)

                                      A61K 45/06, 47/55, 47/64, 31/351, CO7D 309/10, A61P 35/00, 29/00, 37/00

Documentation searched other than minimum documentation to the extent that such documents are included in the fields searched


Electronic data base consulted during the international search (name of data base and, where practicable, search terms used)

                             PatSearch (RUPTO Internal), USPTO, PAJ, Espacenet, Google
C.         DOCUMENTS CONSIDERED TO BE RELEVANT
     Category*                 Citation of document, with indication, where appropriate, of the relevant passages                           Relevant to claim No.


          Y             US 2016/0082112 Al (YALE UNIVERSITY) 24.03.2016, claims,                                                                 1-3, 32-45
                           [0121], [0166], [0169]

          Y             STOKMAIER Daniela. Targeting Hepatocytes via the Asialoglycoprotein-Receptor.                                            1-3, 32-45
                        Inaugural dissertation, Basel, 14 December 2010, pp. 3-140, 3-141, 3-142, 3-143, 3-
                        149, fig. 65, 67

          Y             US 2016/0207953 Al (PFIZER INC.) 21.07.2016, claims, [0028],                                                             1-3, 32-45
                           [0054], [0068], [0087] - [0088], [0215]

          Y            ROSENG Lars et al. Uptake, intracellular transport, and degradation of polyethylene                                       1-3, 32-45
                       glycol-modified asialofetuin in hepatocytes. The Journal of Biological Chemistry,
                       1992, 267(32): pp. 22987-2293

          Y             WO 2016/040305 Al (TEMPLE UNIVERSITY-OF THE COMMONWEALTH                                                                1-3, 32-45
                           SYSTEM OF HIGHER EDUCATION) 17.03.2016, claims, fig. 13A, C, 21

      X    Further documents are listed in the continuation of Box C.                   ❑    See patent family annex.

*         Special categories of cited documents:                                      "T"    later document published after the international filing date or priority
                                                                                             date and not in conflict with the application but cited to understand

"A"       document defining the general state of the art which is not considered             the principle or theory underlying the invention

          to be of particular relevance                                               "X"    document of particular relevance; the claimed invention cannot be

"E"       earlier document but published on or after the international filing date           considered novel or cannot be considered to involve an inventive

"L"       document which may throw doubts on priority claim(s) or which is                   step when the document is taken alone

          cited to establish the publication date of another citation or other        "Y"    document of particular relevance; the claimed invention cannot be

          special reason (as specified)                                                      considered to involve an inventive step when the document is

"0"       document referring to an oral disclosure, use, exhibition or other                 combined with one or more other such documents, such combination

          means                                                                              being obvious to a person skilled in the art

"P"       document published prior to the international filing date but later than    "&"    document member of the same patent family

          the priority date claimed

Date of the actual completion of the international search                             Date of mailing of the international search report

                         15 July 2019 (15.07.2019)                                                         15 August 2019 (15.08.2019)

Name and mailing address of the ISA/RU:                                               Authorized officer
Federal Institute of Industrial Property,
Berezhkovskaya nab., 30-1, Moscow, G-59,                                                                             S. Ilchenko
GSP-3, Russia, 125993
Facsimile No: (8-495) 531-63-18, (8-499) 243-33-37                                    Telephone No. (8-499) 240-25-91
Form PCT/ISA/210 (second sheet) (January 2015)




                                                                                                                                                       DEFS00049729
                                                            o.
  Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page  8 of 314 PageID #:
          INTERNATIONAL S             4612                 /US 2019/026260

 C (Continuation). DOCUMENTS CONSIDERED TO BE RELEVANT
  Category*          Citation of document, with indication, where appropriate, of the relevant passages   Relevant to claim No.

      Y        ZHANG Yingnan et al. Identification of a Small Peptide That Inhibits PCSK9 Protein              1-3, 32-45
               Binding to the Low Density Lipoprotein Receptor. The Journal Biological Chemistry,
               2014; 289(2): pp. 942-955

     Y         FAIRBROTHER Wayne J. et al. Novel Peptides Selected to Bind Vascular                           1-3, 32-45
               Endothelial Growth Factor Target the Receptor-Binding Site. Biochemistry, 1998,
               37(51): pp. 17754-17764

     Y         LANDRY James P. et al. Discovering small molecule ligands of vascular endothelial              1-3, 32-45
               growth factor that block VEGF-KDR binding using label-free microarray-based
               assays. Assay and Drug Development Technologies, 2013, 11(5): pp. 326-332

     Y         RIBEIRO Solange M.F. et al. The Activation Sequence of Thrombospondin-1 Inter-                 1-3, 32-45
               acts with the Latency-associated Peptide to Regulate Activation of Latent
               Transforming Growth Factor-(. The Journal Biological Chemistry, 1999, 27409): pp.
               13586-13593

     Y         BURMESTER James K. et al. Small Molecule Antagonists of the TGF-I31/TGF-P                      1-3, 32-45
               Receptor Binding Interaction. Medical Oncology, 2006, 23(4): pp. 553-562

     Y         RULLO Anthony F. et al. Re-engineering the Immune Response to Metastatic                       1-3, 32-45
               Cancer: Antibody-Recruiting Small Molecules Targeting the Urokinase Receptor.
               Angew Chem Int Ed, 2016, 55(11): pp. 3642-3646

     Y         BRAISTED Andrew C. et al. Discovery of a Potent Small Molecule IL-2 Inhibitor                  1-3, 32-45
               through Fragment Assembly. J. Am. Chem. Soc. 2003, 125(13): pp. 3714-3715

     Y         PARKER Christopher G. et al. Illuminating HIV gp120-ligand recognition through                 1-3, 32-45
               computationally-driven optimization of antibody-recruiting molecules. Chem. Sci.,
               2014, 5(6): pp. 2311-2317




Form PCT/ISA/210 (continuation of second sheet) (January 2015)

                                                                                                                    DEFS00049730
                                                                        o.
  Case 1:23-cv-00328-JLH-SRF
          INTERNATIONAL S       Document 125-3 Filed 02/20/24 Page 9 of 314 PageID #:
              Classification of          4613                 /US 2019/026260

                                                A61K 45/06 (2006.01)
                                                A61K 47/55 (2017.01)
                                                A61K 47/64 (2017.01)
                                                A61K 31/351 (2006.01)
                                                C07D 309/10 (2006.01)
                                                A61P 35/00 (2006.01)
                                                A61P 29/00 (2006.01)
                                                A61P 37/00 (2006.01)




Form PCT/ISA/210 (extra sheet) (January 2015)



                                                                               DEFS00049731
 Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 10 of 314 PageID #:
                                                           NAL SEARCHING AUTHORITY
                                      4614
                               PCT                                               DOYLE, Kathryn
                                                                                 Saul Ewing Arnstein & Lehr LLP, Center Square West,
        WRITTEN OPINION OF THE                                                   1500 Market Street, 38th Floor
  INTERNATIONAL SEARCHING AUTHORITY                                              Philadelphia, PA 19102
                                                                                 United States of America
                        (PCT Rule 43bis.1)

Date of mailing (day/month/year)
                15 August 2019 (15.08.2019)
Applicant's or agent's file reference                                    FOR FURTHER ACTION
                          Y03-182PCT                                                     See paragraph 2 below

International application No.               International filing date (dui/month/yew)        Priority date (day/month/year)
      PCT/US 2019/026260                             08 April 2019 (08.04.2019)                          09 April 2018 (09.04.2018)

International Patent Classification (IPC) or both national classification and IPC
                                                                (see extra sheet)

Applicant
YALE UNIVERSITY


1. This opinion contains indications relating to the following items:
    X Box No. I Basis of the opinion

         Box No. II Priority

         Box No. III Non-establishment of opinion with regard to novelty, inventive step and industrial applicability
  ❑
         Box No. IV Lack of unity of invention
  ❑
         Box No. V Reasoned statement under Rule 43bis.1(a)(i) with regard to novelty, inventive step and industrial applicability;
  ❑
                  citations and explanations supporting such statement

  ❑      Box No. VI Certain documents cited

  1- 1 Box No. VII Certain defects in the international application
        Box No. VIII Certain observations on the international application

2. FURTHER ACTION
    If a demand for international preliminary examination is made, this opinion will be considered to be a written opinion of the
    International Preliminary Examining Authority ("IPEA") except that this does not apply where the applicant chooses an Authority
    other than this one to be the IPEA and the chosen IPEA has notified the International Bureau under Rule 66.1 bis(b) that written
    opinions of this International Searching Authority will not be so considered.

    If this opinion is, as provided above, considered to be a written opinion of the IPEA, the applicant is invited to submit to the IPEA
    a written reply together, where appropriate, with amendments, before the expiration of 3 months from the date of mailing of Form
    PCT/ISA/220 or before the expiration of 22 months from the priority date, whichever expires later.

    For further options, see Form PCT/ISA/220.




Name and mailing address of thelSA/RU:                  Date of completion of this opinion         Authorized officer
Federal Institute of Industrial Property,
Berczhkovskaya nab., 30-1, Moscow, G-59,                      15 July 2019 (15.07.2019)                            S. llchenko
GSP-3, Russia, 125993
Facsimile No: (8-495) 531-63-18, (8-499) 243-33-37
                                                                                                   Telephone No. (8-499) 240-25-91
Form PCT/ISA/237 (cover sheet) (January 2015)




                                                                                                                                    DEFS00049732
                                                                                                            l application No.
 Case 1:23-cv-00328-JLH-SRF
                 WRITTE     Document 125-3 Filed 02/20/24 Page 11 of 314 PageID #:
           INTERNATIONA               4615                  PCT/US 2019/026260


 Box No. I Basis of this opinion


  1.    With regard to the language, this opinion has been established on the basis of:
              the international application in the language in which it was filed.

              a translation of the international application into                                           which is the language of a
              translation furnished for the purposes of international search (Rules 12.3(a) and 23.1(b)).


  2.          This opinion has been established taking into account the rectification of an obvious mistake authorized by or notified
              to this Authority under Rule 91 (Rule 43bis.1(a))


        With regard to any nucleotide and/or amino acid sequence disclosed in the international application, this opinion has been
  3.
        established on the basis of a sequence listing filed or furnished:

       a. n       forming part of the international application as filed:

                n in the form of an Annex C/ST.25 text file.
                El on paper or in the form of an image fi le.
       b.         furnished together with the international application under PCT Rule 13ter.1(a) for the purposes of international search
                  only in the form of an Annex C/ST.25 text file.

       c. n       furnished subsequent to the international fi ling date for the purposes of international search only:

                n in the form of an Annex C/ST.25 text file (Rule 13ter.1(a)).
                ri on paper or in the form of an image file (Rule 13ter.1(b) and Administrative Instructions, Section 713).
 4.           In addition, in the case that more than one version or copy of a sequence listing has been filed or furnished, the required
              statements that the information in the subsequent or additional copies is identical to that in the application as filed or
              does not go beyond the application as filed, as appropriate, were furnished.

 5.           Additional comments:




Form PCT/ISA/237 (Box No. I) (January 2015)




                                                                                                                                         DEFS00049733
                                                           plication No.
 Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page     12 of 314 PageID #:
                WRITTEN
         INTERNATIONAL S              4616                 PCT/US 2019/026260


Box No. III Non-establishment of opinion with regard to novelty, inventive step and industrial applicability

The questions whether the claimed invention appears to be novel, to involve an inventive step (to be non obvious), or to be industrially
applicable have not been examined in respect of:


        the entire international application.

        claims Nos.                   4-31
        because:

  1- 7 subject
       the said international application, or the said claims Nos.
               matter which does not require an international search (specify):
                                                                                                                relate to the following




  rq the description, claims or drawings (indicate particular elements below) or said claims Nos.
     are so unclear that no meaningful opinion could be formed (specify):
                                                                                                           31


       Claim 31 contains a reference to the drawings in relation to the technical features of the invention,
       that contrary to in accordance with PCT Rule 6.2 (a).




  1- 7 the claims, or said claims Nos.
       by the description that no meaningful opinion could be formed (specify):
                                                                                                     are so inadequately supported




 Ni no international search report has been established for said claims Nos.          4-30

 1- 7 a meaningful opinion could not be formed without the sequence listing; the applicant did not, within the prescribed time limit:
           furnish a sequence listing in the form of an Annex C/ST.25 text file, and such listing was not available to the
           International Searching Authority in the form and manner acceptable to it; or the sequence listing furnished did not comply with
           the standard provided for in Annex C of the Administrative Instructions.
     n     furnish a sequence listing on paper or in the form of an image file complying with the standard provided for in Annex C of the
           Administrative Instructions, and such listing was not available to the International Searching Authority in the form and manner
           acceptable to it; or the sequence listing furnished did not comply with the standard provided for in Annex C of the Administrative
           Instructions.
     n     pay the required late furnishing fee for the furnishing of a sequence listing in response to an invitation under
           Rule 131er.1(a) or (b).


       See Supplemental Box for further details.



Form PCT/ISA/237 (Box No. III) (January 2015)




                                                                                                                                    DEFS00049734
                                                           lication No.
 Case 1:23-cv-00328-JLH-SRF
               WRITTEN
                            Document 125-3 Filed 02/20/24 Page     13 of 314 PageID #:
         INTERNATIONAL S              4617                PCT/US 2019/026260


Box No. V Reasoned statement under Rule 43bis.1(a)(i) with regard to novelty, inventive step and industrial applicability;
           citations and explanations supporting such statement



  I.   Statement


           Novelty (N)                             Claims                              1-3, 32-45                        YES


                                                   Claims                                                                NO


           Inventive step (IS)                     Claims                                                                YES


                                                   Claims                              1-3, 32-45                        NO


           Industrial applicability (IA)           Claims                              1-3, 32-45                        YES


                                                  Claims                                                                 NO



 2.    Citations and explanations:
           Dl: US 2016082112 Al, 24.03.2016.
            D2: D. STOKMAIER. "Targeting Hepatocytes via the Asialoglycoprotein-Receptor". Inaugural
       dissertation, Basel, 14 December 2010, p.3-140, 3-141, 3-142, 3-143, 3-149, fig. 65, 67.
           D3: US 2016207953 Al, 21.07.2016.
           D4: ROSENG L. et al. "Uptake, intracellular transport, and degradation of polyethylene glycol-
       modified asialofetuin in hepatocytes." J Biol Chem. 1992; 267(32), p.22987-22993.

            D1 is the closest prior art to the inventions according to claims 1, 32, 38, 39, 43-45.
            D1 (claim 1) discloses the compound in accordance with the chemical structure:

                                           MULT1CON             Li )
                                   N1.1               MCON
                                                                              CBI



            where [IBT] is a FcyRI cell receptor binding fragment;
            [CBT] is a cell-binding fragment that binds to the prostatic membrane antigen (PSMA), in
       particular a compound




                     e)
                          NH
             HO,C. r      0021,1




Form PCT/ISA/237 (Box No. V) (January 2015)



                                                                                                                         DEFS00049735
                                                                                on No.
              WRITTEN OP
 Case 1:23-cv-00328-JLH-SRF
        INTERNATIONAL SE                        Document 125-3 Filed 02/20/24 Page  14 of 314 PageID #:
                                                                               T/US 2019/026260
                                                          4618
 Supplemental Box



In case the space in any of the preceding boxes is not sufficient.
Continuation of V:


            PSMA is a soluble protein that is overexpressed in prostate cancer cells (par. [0166], [0169]),
       i.e. mediates a disease state, circulates in the plasma of the subject, and which should be removed.
            L1 and L2 are linker groups that optionally include one or more bifunctional connector groups
       [CON];
            [MULTICON] - a bifunctional or multifunctional group of connectors, which, if available,
       connects at least one group [IBT], at least one group [CBT] via a linker, i.e. [MULTICON] is a
       LINKER.
            MCON (which corresponds to iL according to the present application) is an integer from 0 to
       10;

           NL1 and NL2 are integers from 0 to 10, provided that n > NL1 and n❑ > NL2 (which
       correspond to h, h', k' and j', respectively, according to the present application).

             In some embodiments, Dl (the Claims) MCON is 1, 2 or 3, n is 1, 2 or 3, and n' is 1 or 2.

            Di (claims 30-48) also discloses a pharmaceutical composition comprising an effective amount
       of the abovementioned chimeric compound in combination with a pharmaceutically acceptable
       carrier, additive or excipient, as well as a method for treating prostate cancer in a patient in need
       thereof, including elucidating the introduction to the specified patient an effective amount of the
       compound. Additional anti-cancer agents, for example, cytarabine, alemtuzumab, etc., can be
       administered together with one or more chimeric compounds ([0121]).

            The invention according to claims 1, 32, 38, 39, 43-45 differ from D1 in that instead of the
       [IBT] fragment that binds the cell receptor, where was used [CRBM], a fragment of the cell receptor
       that binds to hepatocytes or other degrading cells via asialoglycoprotein hepatocyte receptors or
       other cell receptors that are located on the surface of degrading cells in a patient or subject.

           The inventions according to claims 44, 45 also differ in that they are aimed at treating an
       autoimmune or inflammatory disease.

             Thus, the invention according to claims 1-3, 32-45 meets the novelty criteria.

            However, D2 (p. 3-140, 3-141, Fig. 65) discloses "triatennary" compounds for binding to the
       asialoglycoprotein receptor (ASGP-R), in particular, having N-acetyl-D-galactose (GaINAc) as a
       carbohydrate ligand:




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              WRITTEN OP
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       INTERNATIONAL SE                         Document 125-3 Filed 02/20/24 Page  15 of 314 PageID #:
                                                                               T/US 2019/026260
                                                          4619
Supplemental Box



In case the space in any of the preceding boxes is not sufficient.
Continuation of V:




                                                                       NHCbz

                                                    0          3

                                            3



                                                0


                       NHAc                                          NH2


                                            4


                                                               0

                                                           H

                                            5a, R = 011
                                            5b, R = NHAc



            Trivalent ligands for the asialoglycoprotein receptor (ASGP-R) (p.3-142, p.3-143, Fig.67, p.3-
       149) are synthetically readily available and hydrolytically stable. Both criteria are a prerequisite for
       their therapeutic use in the site-specific delivery of therapeutic agents (chemotherapeutic, DNA,
       etc.) for the liver.

           GalNAc has been used successfully to target a wide range of drugs to the liver parenchyma and
       has high binding affinity for the ASGP-R receptor, especially when GalNAc is present in the
       multivalent state and when galactose residues are correctly located in space.

            D3 (claims, [0087] - [0088], [0215]) discloses derivatives of substituted 6,8-dioxabicyclo
       [3.2.1] octane-2,3-diol, pharmaceutical compositions and their use as agents targeting the ASGP-R
       receptor present on the hepatocyte.

            Thcsc derivatives can be conjugated to a system for the delivery of therapeutic agents to
       hepatocytes, for example, to PEG (poly (ethylene glycol) methyl ether) associated with a small
       molecule, an amino acid sequence, a nucleic acid sequence, an antibody, an oligomer , a polymer,
       genetically derived material, a liposome, a nanoparticle, dye, fluorescent probe (the Claims,
       par.[0054], [0068]).

            The compounds of D3 ([0028]) can be used in a method for treating a disease or condition of
       the liver or a disease or condition modulated by the liver, including hyperglycemia similar to type II
       diabetes mellitus, primary sclerosing cholangitis and biliary atresia (autoimmune diseases),
       idiopathic neonatal hepatitis (inflammatory disease).

           D4 (abstract, p. 22988, col. 1, par. 8) discloses the degradation of therapeutic compounds
       conjugated to a fragment that binds to the galactose hepatocyte receptor, resulting in the endocytic
       uptake of molecules and their decomposition.

           Thus, D2 and D3 disclose various ligands that bind to the ASGP-R receptor to deliver various
      therapeutic compounds to hepatocytes where they degrade according to D4. In the light of D2 and
      D3, the specialist is motivated to use ligands targeting the ASGP-R receptor to deliver therapeutic
Form PCT/ISA/237 (Supplemental Box) (January 2015)

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              WRITTEN OP
 Case 1:23-cv-00328-JLH-SRF
        INTERNATIONAL SE                        Document 125-3 Filed 02/20/24 Page  16 of 314 PageID #:
                                                                               T/US 2019/026260
                                                          4620
Supplemental Box



In case the space in any of the preceding boxes is not sufficient.
Continuation of V:


       agents to the liver, including as part of the chimeric compound of D 1. It will be apparent to the
       person skilled in the art that replacing the FcyRI cell receptor binding fragment at D1 with a
       fragment that binds to the ASGP-R receptor at D2 or D3 in order to deliver the PSMA conjugate
       bound to hepatocytes for treating cancer.

          The treatment of autoimmune and inflammatory diseases is obvious from D 1 -D3, since the
       PSMA binding fragment can be replaced by any other therapeutic agent, for example, known from
       D5-D13 (see below), for the treatment of the corresponding disease.

             The features of dependent claims 2, 3, 33-37, 40 are known from D1 (claims, [0121]).
             The features of dependent claims 41, 42 are known from D3 ([0028]).

            Thus, the inventions according to independent claims 1, 32, 38, 39, 43-45 and dependent claims
       2, 3, 33-37, 40-42 do not meet the criterion of inventive step.

             The inventions according to claims 1-3, 32-45 meet the industrial applicability criteria.




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                                                           on No.
 Case 1:23-cv-00328-JLH-SRF
              WRITTEN OP
                            Document 125-3 Filed 02/20/24 Page    17 of 314 PageID #:
        INTERNATIONAL SEA             4621                 T/US 2019/026260


Box No. VII Certain defects in the international application



The following defects in the form or contents of the international application have been noted:


       Claim 31 contains a reference to the drawings in relation to the technical features of the invention,
       that contrary to in accordance with PCT Rule 6.2 (a).

       Claim 33 contains a reference to itself that contrary to in accordance with the first sentence of PCT
       Rule 6.4 (a): any claim which includes all the features of one or more other claims (claim in
       dependent form, hereinafter referred to as "dependent claim") shall do so by a reference, if possible
       at the beginning, to the other claim or claims and shall then state the additional features claimed.




Form PCT/ISA/237 (Box No. VII) (January 2015)




                                                                                                    DEFS00049739
                                                            o.
 Case 1:23-cv-00328-JLH-SRF
            WRITTEN OPIN    Document 125-3 Filed 02/20/24 Page  18 of 314 PageID #:
      INTERNATIONAL SEA               4622                 /US 2019/026260
                   Classification of subject matter
                                                      A61K 45/06 (2006.01)
                                                      A61K 47/55 (2017.01)
                                                      A61K 47/64 (2017.01)
                                                      A61K 31/351 (2006.01)
                                                      C07D 309/10 (2006,01)
                                                      A61P 35/00 (2006.01)
                                                      A61P 29/00 (2006.01)
                                                      A61P 37/00 (2006.01)




Form PCT/ISA/237 (extra sheet) (January 2015)




                                                                              DEFS00049740
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                                     4623




                  EXHIBIT 14
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 20 of 314 PageID #:
                                     4624
   From the INTERNATIONAL SEARCHING AUTHORITY


   To: Kathryn Doyle
                                                                                                       PCT
       Saul Ewing Arnstein & Lehr LLP
       1500 Market Street, 38th Floor                                             NOTIFICATION OF TRANSMITTAL OF
       Centre Square West                                                      THE INTERNATIONAL SEARCH REPORT AND
       Philadelphia, PA 19102                                                THE WRITTEN OPINION OF THE INTERNATIONAL
                                                                             SEARCHING AUTHORITY, OR THE DECLARATION

                                                                                                     (PCT Rule 44.1)

                                                                            Date of mailing
                                                                            (day/month/year)       MAR 2 2 2021
   Applicant's or agent's file reference
                                                                            FOR FURTHER ACTION                See paragraphs 1 and 4 below
   047162-7250W01
   International application No.                                            International filing date
                                                                            (day/month/year)          09 October 2020 (09.10.2020)
    PCT/US20/55078
   Applicant Yale University




     1. El The applicant is hereby notified that the international search report and the written opinion of the International Searching
           Authority have been established and are transmitted herewith.
           Filing of amendments and statement under Article 19:
           The applicant is entitled, if he so wishes, to amend the claims of the international application (see Rule 46):
           When? The time limit for filing such amendments is normally two months from the date of transmittal of the international
                     search report.
              How?       Directly to the International Bureau preferably through ePCT, or on paper to:
                         The International Bureau of WIPO, 34, chemin des Colombettes, 1211 Geneva 20, Switzerland

              For more detailed instructions, see the PCT Applicant's Guide, International Phase, paragraphs 9.004 — 9.011.
     2. ❑ The  applicant is hereby notified that no international search report will be established and that the declaration under
          Article 17(2)(a) to that effect and the written opinion of the International Searching Authority are transmitted herewith.
     3. ❑ With regard to any protest against payment of (an) additional fee(s) under Rule 40.2, the applicant is notified that:
              ❑      the protest together with the decision thereon has been transmitted to the International Bureau together with any request
                     to forward the texts of both the protest and the decision thereon to the designated Offices.
              ❑      no decision has been made yet on the protest; the applicant will be notified as soon as a decision is made.

     4. Reminders
        The applicant may submit comments on an informal basis on the written opinion of the International Searching Authority to
        the International Bureau. These comments will be made available to the public after international publication. The International
        Bureau will send a copy of such comments to all designated Offices unless an international preliminary examination report has
        been or is to be established.
        Shortly after the expiration of 18 months from the priority date, the international application will be published by the
        International Bureau. If the applicant wishes to avoid or postpone publication, a notice of withdrawal of the international application,
        or of the priority claim, must reach the International Bureau before the completion of the technical preparations for international
        publication (Rules 906is.1 and 9061s.3).
        Within 19 months from the priority date, but only in respect of some designated Offices, a demand for international preliminary
        examination must be filed if the applicant wishes to postpone the entry into the national phase until 30 months from the priority
        date (in some Offices even later); otherwise, the applicant must, within 20 months from the priority date, perform the prescribed
        acts for entry into the national phase before those designated Offices. In respect of other designated Offices, the time limit of
        30 months (or later) will apply even if no demand is filed within 19 months. For details about the applicable time limits, Office
        by Office, see www.wipo.intipct/en/texts/time_limits.html and the PCT Applicant's Guide, National Chapters.
        Within 22 months from the priority date, the applicant may request that a supplementary international search be carried out
        by a different International Searching Authority that offers this service (Rule 45bis.1). The procedure for requesting supplementary
        international search is described in the PCT Applicant's Guide, International Phase, paragraphs 8.006-8.032.

   Name and mailing address of the ISA/                                     Authorized officer
   Mail Stop PCT, Attn: ISA/US
   Commissioner for Patents                                                                          Shane Thomas
   P.O. Box 1450, Alexandria, Virginia 22313-1450
   Facsimile No. 571-773-8300                                              Telephone No. PCT Helpdesk:          571-272-4300
  Form PCT/ISA/220 (revised January 2020)




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Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 21 of 314 PageID #:
                                     4625

                                                                    PCT
                                                  INTERNATIONAL SEARCH REPORT
                                                     (PCT Article 18 and Rules 43 and 44)



   Applicant's or agent's file reference                                                         FOR FURTHER ACTION
    047162-7250W01                                                          see Form PCT/ISA/220 as well as, where applicable, item 5 below.
   International application No.                  International filing date (day/month/year)       (Earliest) Priority Date (day/month/year)

   PCT/US20/55078                                09 October 2020 (09.10.2020)                     10 October 2019 (10.10.2019)

   Applicant
   Yale University



    This international search report has been prepared by this International Searching Authority and is transmitted to the applicant according
    to Article 18. A copy is being transmitted to the International Bureau.

    This international search report consists of a total of       -A-     sheets.

              pi   It is also accompanied by a copy of each prior art document cited in this report.

    I. Basis of the report
         a. With regard to the language, the international search was carried out on the basis of:
                          the international application in the language in which it was filed.
                          a translation of the international application into                                       which is the language of
                          a translation furnished for the purposes of international search (Rules 12.3(a) and 23.1(b)).
         b.        This international search report has been established taking into account the rectification of an obvious mistake authorized
                   by or notified to this Authority under Rule 91 (Rule 43.6bis(a)).
         c.        With regard to any nucleotide and/or amino acid sequence disclosed in the international application, see Box No. I.

    2.             Certain claims were found unsearchable (see Box No. II).

    3.        171 Unity of invention is lacking (see Box No. III).
    4. With regard to the title,
                   the text is approved as submitted by the applicant.
              pi the text has been established by this Authority to read as follows:


     5. With regard to the abstract,

              pi the text is approved as submitted by the applicant.
                     the text has been established, according to Rule 38.2, by this Authority as it appears in Box No. IV. The applicant may,
              ❑
                     within one month from the date of mailing of this international search report, submit comments to this Authority.

     6. With regard to the drawings,
         a.   the figure of the drawings to be published with the abstract is Figure No. 1
                           as suggested by the applicant.
                           as selected by this Authority, because the applicant failed to suggest a figure.
                           as selected by this Authority, because this figure better characterizes the invention.
         b.   ri none of the figures is to be published with the abstract.

   Form PCT/ISA/210 (first sheet) (July 2019)




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Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 22 of 314 PageID #:
               INTERNA               4626                 application No.

                                                                                                          PCT/US20/55078

   Box No. II       Observations where certain claims were found unsearchable (Continuation of item 2 of first sheet)


   This international search report has not been established in respect of certain claims under Article 17(2)(a) for the following reasons:

   1.    I 1 Claims Nos.:
             because they relate to subject matter not required to be searched by this Authority, namely:




   2.          Claims Nos.:
               because they relate to parts of the international application that do not comply with the prescribed requirements to such an
               extent that no meaningful international search can be carried out, specifically:




   3.          Claims Nos.:
               because they are dependent claims and are not drafted in accordance with the second and third sentences of Rule 6.4(a).

    Box No. III      Observations where unity of invention is lacking (Continuation of item 3 of fi rst sheet)

    This International Searching Authority found multiple inventions in this international application, as follows:
    -***-Please See Supplemental Page--***




         H Asclaims.
                 all required additional search fees were timely paid by the applicant, this international search report covers all searchable



         1 1 As all searchable claims could be searched without effort justifying additional fees, this Authority did not invite payment of
             additional fees.

                As only some of the required additional search fees were timely paid by the applicant, this international search report covers
                only those claims for which fees were paid, specifically claims Nos.:




    4.
         Ix     No required additional search fees were timely paid by the applicant. Consequently, this international search report is restricted
                to the invention first mentioned in the claims; it is covered by claims Nos.:
                Groups I+, Claims 1-40, a compound encompassing Formula I, wherein the protein binder encompasses a moiety that binds to
                CD4OL, as in claim 26, k' is 1, h, i, and h' are each 0; j' is 1, the CRBM encompasses folic acid (compound structure), and
                Addison's Disease (disease or disorder)


    Remark on Protest                       The additional search fees were accompanied by the applicant's protest and, where applicable, the
                                            payment of a protest fee.
                                    n       The additional search fees were accompanied by the applicant's protest but the applicable protest
                                            fee was not paid within the time limit specified in the invitation.
                                            No protest accompanied the payment of additional search fees.

   Form PCT/ISA/210 (continuation of first sheet (2)) (July 2019)




                                                                                                                                                DEFS00050022
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 23 of 314 PageID #:
               INTERNA               4627                 application No.
                                                                                                                   PCT/US20/55078

    A.  CLASSIFICATION OF SUBJECT MATTER
    IPC - A61K 35/407; A61K 39/395; CO7D 475/04; C07K 14/705; C07K 14/725; CO7K 16/28 (2020.01)

                A61K 35/407; A61K 39/395; C07D 475/04; CO7K 14/705; CO7K 16/28
    CPC -




    According to International Patent Classification (IPC) or to both national classification and IPC
    B.     FIELDS SEARCHED

    Minimum documentation searched (classification system followed by classification symbols)
    See Search History document
                                                                                            •
    Documentation searched other than minimum documentation to the extent that such documents are included in the fields searched
    See Search History document

    Electronic data base consulted during the international search (name of data base and, where practicable, search tenns used)
    See Search History document

    C.    DOCUMENTS CONSIDERED TO BE RELEVANT

     Category*         Citation of document, with indication, where appropriate, of the relevant passages                             Relevant to claim No.

    Y            - (NALAWANSHA, DA at al.) Targeted Protein Internalization and Degradation by ENDosome                             1, 5-6, 16-18, 31-35,
    ---            TArgeting Chimeras (ENDTACs). ACS Central Science. 9 May 2019, Vol. 5, No. 6; pages                              38-40
    A              1079-1084; abstract; page 1079, second column, second paragraph; page 1080, figures 1, 2A;                       ---
                   DOI: 10.1021/acscentsci.9b00224                                                                                  26

    Y                US 2007/0077197 Al (WEDEKING, PW et al.) 5 April 2007; figures 8, 14A; paragraphs [0051],                      1, 5-6, 16-18, 31-35,
                     [0074], [0089]                                                                                                 38-40

    Y            -   (D'SOUZA, AA et al.) Asialoglycoprotein receptor mediated hepatocyte targeting - Strategies                    16
                     and applications. Journal of Controlled Release. 10 April 2015, Epub 18 February 2015, Vol.
                     203; pages 126-139; abstract; DOI: 10.1016/j.jconre1.2015.02.022

    Y                US 2004/0009907 Al (ALSOBROOK II, JP et al.) 15 January 2004; paragraphs [0008], [0019],                       31-35, 38-40
                     [0063], [0115], [0274], [0459], [1611], [1715], [1719], [1825], [1852], [2027], [2332]

    A                US 2007/0249682 Al (ZHENG, Z et al.) 25 October 2007; abstract; paragraphs [0002], [0048],                      26
                     [0095]

    A                US 2016/0362450 Al (CARA THERAPEUTICS, INC.) 15 December 2016; figure 2; paragraph                              26
                     [0237]




           Furthe • documents are listed in the continuation of Box C.                          See patent family annex.

    *   Special categories of cited documents:                                      "T"   later document published after the international filing date or priority
    "A" document defining the general state of the art which is not considered            date and not in conflict with the application but cited to understand
        to be of particular relevance                                                     the principle or theory underlying the invention
    "D" document cited by the applicant in the international application            "X" document of particular relevance; the claimed invention cannot be
    "E" earlier application or patent but published on or after the international       considered novel or cannot be considered to involve an inventive step
        filing date                                                                     when the document is taken alone
    "L" document which may throw doubts on priority claim(s) or which               "Y" document of particular relevance; the claimed invention cannot
        is cited to establish the publication date of another citation or other         be considered to involve an inventive step when the document is
        special reason (as specified)                                                   combined with one or more other such documents, such combination
    "0" document referringto an oral disclosure, use, exhibition or othermeans          being obvious to a person skilled in the art
    "P" document published prior to the international fi ling date but later than   "&" document member of the same patent family
        the priority date claimed
    Date of the actual completion of the international search                       Date of mailing of the international search report

    04 March 2021 (04.03.2021)
                                                                                                    MAR 2 2 2021
    Name and mailing address of the ISA/US                                          Authorized officer
    Mail Stop PCT, Attn: ISA/US, Commissioner for Patents                                                      Shane Thomas
    P.O. Box 1450, Alexandria, Virginia 22313-1450
    Facsimile No. 571-273-8300                                                      Telephone No. PCT Helpdesk: 571-272-4300
   Form PCT/ISA/210 (second sheet) (July 2019)




                                                                                                                                                               DEFS00050023
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 24 of 314 PageID #:
                INTERNA              4628                 application No.

                                                                                                         PCT/US20/55078

    -***-Continued From Box No. III: Observations where unity of invention is lacking-***-

    This application contains the following inventions or groups of inventions which are not so linked as to form a single general inventive
    concept under PCT Rule 13.1. In order for all inventions to be examined, the appropriate additional examination fees must be paid.

    Groups I+, Claims 1-40, a compound encompassing Formula I, wherein the protein binder encompasses a moiety that binds to CD4OL,
    as in claim 26, k' is 1, h, i, and h' are each 0; j' is 1, the CRBM encompasses folic acid (compound structure), and Addison's Disease
    (disease or disorder) are directed toward compounds, compositions comprising the compounds, and methods associated therewith.

    The compounds, compositions, and methods will be searched to the extent they encompass a compound encompassing Formula I,
    wherein the protein binder encompasses a moiety that binds to CD4OL, as in claim 26, k' is 1, h, i, and h' are each 0; j' is 1, the CRBM
    encompasses folic acid (first exemplary compound structure), and Addison's Disease (first exemplary disease or disorder). Applicant is
    invited to elect additional compound(s), with fully specified structure(s) thereof, including, where applicable, specified SEQ ID NO: for
    each, such that the sequence and structure of each elected compound species is fully specified (i.e. no optional or variable atoms,
    bonds, residues or substituents), and/or additional disease(s) or disorder(s) to be searched. Additional compound(s) and/or disease(s) or
    disorder(s) will be searched upon the payment of additional fees. It is believed that claims 1 (in-part), 5-6 (each in-part), 16-18 (each
    in-part), 26 (in-part), 31-35 (each in-part), and 38-40 (each in-part) encompass this first named invention and thus these claims will be
    searched without fee to the extent that they encompass a compound encompassing Formula I, wherein the protein binder encompasses
    a moiety that binds to CD4OL, as in claim 26, k' is 1, h, i, and h' are each 0; j' is 1, the CRBM encompasses folic acid (compound
    structure), and Addison's Disease (disease or disorder). Applicants must specify the searchable claims that encompass any additionally
    elected compound(s) and/or disease(s) or disorder(s). Applicants must further indicate, if applicable, the claims which encompass the
    first named invention, if different than what was indicated above for this group. Failure to clearly identify how any paid additional
    invention fees are to be applied to the "+" group(s) will result in only the first claimed invention to be searched/examined. An exemplary
    election would be a compound encompassing Formula I, wherein the protein binder encompasses a moiety that binds to CD4OL, as in
    claim 26, k' is 1, h, and h' are each 0; i is 1, and the linker encompasses a polyethylene glycol containing linker having 1-12 ethylene
    glycol residues; j' is 1, the CRBM encompasses folic acid (compound structure).

    No technical features are shared between the compounds and/or diseases or disorders of Groups I+ and, accordingly, these groups lack
    unity a priori.

    Groups I+ share the technical features including: a compound comprising formula (I), or a salt, geometric isomer, stereoisomer, or
    solvate thereof: [Protein binder]k'-[CON]h-[Linker]i-[CON]h'iCRBM]y (I), wherein: the Protein binder is a molecule that binds to an
    extracellular protein; the CRBM is a cellular receptor binding moiety that binds to at least one receptor on the surface of a degrading cell
    in a subject, whereby binding of (I) leads to endocytosis and degradation of the extracellular protein; each CON is independently a bond
    or a group that covalently links a Protein binder to an CRBM, a Protein binder to a Linker, and/or a Linker to a CRBM; the Linker is a
    group having a valence ranging from 1 to 15; k' is an integer ranging from 1 to 15; his an integer ranging from 0 to 15; i is an integer
    ranging from 0 to 15; h' is an integer ranging from 0 to 15; j' is an integer ranging from 1 to 15; a pharmaceutical composition comprising
    at least one pharmaceutically acceptable excipient and at least one compound; and a method of treating, ameliorating, and/or preventing
    a disease or disorder in a subject, the method comprising administering a therapeutically effective amount of at least one compound.

    However, these shared technical features are previously disclosed by US 2019/0000984 Al to Regeneron Pharmaceuticals, Inc.
    (hereinafter 'Regeneron').

    Regeneron discloses a compound comprising formula (I): [Protein binder]Ic'-[CON]h4Linker1i4CON]h'iCRBMF (I) (a multispecific antigen
    binding molecule comprising a first antigen binding domain, and a second antigen binding domain, wherein the antigen binding domains
    comprise covalently associated binding polypeptides (a compound comprising formula (I): [Protein
    binderik.-[CON]h1Linkerli-[CON]h'-[CRBM]f (I)); paragraphs [0004], [0040]), wherein: the Protein binder is a molecule that binds to an
    extracellular protein (wherein D1 binds to an extracellular, optionally soluble antigen (the Protein binder is a molecule that binds to an
    extracellular protein); Figure 1, paragraphs [0004], [0008]); the CRBM is a cellular receptor binding moiety that binds to at least one
    receptor on the surface (D2 binds to an internalizing antigen on the surface of a cell (the CRBM is a cellular receptor binding moiety that
    binds to at least one receptor on the surface); Figure 1B, paragraphs [0004], [0008], [0059]) of a degrading cell in a subject, whereby
    binding of (I) leads to endocytosis and degradation of the extracellular protein (of a degrading cell in a subject, whereby binding of (I)
    leads to endocytosis and degradation of the extracellular antigen (extracellular protein); paragraphs [0003], [0059]); a pharmaceutical
    composition comprising at least one pharmaceutically acceptable excipient and at least one compound (pharmaceutical composition
    comprising at least one pharmaceutically acceptable excipient and at least one compound; paragraph [0084]); and a method of treating,
    ameliorating, and/or preventing a disease or disorder in a subject, the method comprising administering a therapeutically effective
    amount of at least one compound (a method of treating, ameliorating, and/or preventing sepsis (a disease or disorder) in a subject, the
    method comprising administering a therapeutically effective amount of at least one compound paragraphs [0085], [0118]).

     Since none of the special technical features of the Groups I+ inventions is found in more than one of the inventions, and since all of the
     shared technical features are previously disclosed by the Regeneron reference, unity of invention is lacking.




   Form PCT/ISA/210 (extra sheet) (July 2019)




                                                                                                                                               DEFS00050024
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 25 of 314 PageID #:
                                     4629
   From the
   INTERNATIONAL SEARCHING AUTHORITY

    To:
          Kathryn Doyle
                                                                                                      rt1'
          Saul Ewing Arnstein & Lehr LLP
          1500 Market Street, 38th Floor                                                 WRITTEN OPINION OF THE
          Centre Square West                                                       INTERNATIONAL SEARCHING AUTHORITY
          Philadelphia, PA 19102
                                                                                                   (PCT Rule 43 bis.1)




                                                                            Date of mailing
                                                                            (day/month/year)           MAR 2 2 2021
    Applicant's or agent's file reference                                   FOR FURTIIER ACTION
    047162-7250W01                                                                               See paragraph 2 below

    International application No.               International filing date (day/month/year)         Priority date (day/month/year)

   PCT/US20/55078                                09 October 2020 (09.10.2020)                     10 October 2019 (10.10.2019)
    International Patent Classification (IPC) or both national classification and IPC
    IPC     -   A61K 35/407; A61K 39/395; CO7D 475/04; CO7K 14/705; CO7K 14/725; CO7K 16/28 (2020.01)

    CPC     _   A61K 35/407; A61K 39/395; CO7D 475/04; CO7K 14/705; CO7K 16/28




    Applicant Yale University




     1. This opinion contains indications relating to the following items:

          VV     Box No. I      Basis of the opinion

          n      Box No., II    Priority

                 Box No. III    Non-establishment of opinion with regard to novelty, inventive step and industrial applicability

          IX Box No. IV Lack of unity of invention
                 Box No. V      Reasoned statement under Rule 43 bis.1(a)(i) with regard to novelty, inventive step and industrial applicability;
                                citations and explanations supporting such statement

                 Box No. VI     Certain documents cited

                 Box No. VII    Certain defects in the international application

                 Box No. VIII Certain observations on the international application

     2. FURTHER ACTION
          If a demand for international preliminary examination is made, this opinion will be considered to be a written opinion of the
          International Preliminary Examining Authority ("IPEA") except that this does not apply where the applicant chooses an Authority
          other than this one to be the IPEA and the chosen IPEA has notified the International Bureau under Rule 66.1 bis(b) that written
          opinions of this International Searching Authority will not be so considered.
          If this opinion is, as provided above, considered to be a written opinion of the IPEA, the applicant is invited to submit to the IPEA
          a written reply together, where appropriate, with amendments, before the expiration of 3 months from the date of mailing of Form
          PCT/ISA/220 or before the expiration of 22 months from the priority date, whichever expires later.
          For further options, see Form PCT/ISA/220.

    Name and mailing address of the ISA/US Date of completion of this opinion                      Authorized officer
    Mail Stop PCT, Attn: ISA/US                                                                          Shane Thomas
    Commissioner for Patents                       04 March 2021 (04.03.2021)
    P.O. Box 1450, Alexandria, Virginia 22313-1450                                                 PCT Help Desk
    Facsimile No, 571-273-8300                                                                     Telephone No. 571-272-4300
   Form PCT/ISA/237 (cover sheet) (revised . anuary 2019)




                                                                                                                                               DEFS00050025
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 26 of 314 PageID #:
                                     4630                 application No.
                             WRITTEN OPINION OF THE
                       INTERNATIONAL SEARCHING AUTHORITY
                                                                                                   PCT/US20/55078

   Box No. I         Basis of this opinion


    1. With regard to the language, this opinion has been established on the basis of:

          x the international application in the language in which it was filed.
          1 1 afurnished
                 translation of the international application into
                          for the purposes of international search (Rules 12.3(a) and 23.1(b)).
                                                                                                       which is the language of a translation



    2.    ri This opinion has been established taking into account the rectification of an obvious mistake authorized by or notified to
                this Authority under Rule 91 (Rule 43bis.1(b)).


    3.          With regard to any nucleotide and/or amino acid sequence disclosed in the international application, this opinion has been
                established on the basis of a sequence listing:
                a. ri forming part of the international application as filed:
                      r-7 in the form of an Annex C/ST.25 text file.
                      1 1 on paper or in the form of an image file.
                b. ri furnished together with the international application under PCT Rule 13ter.1(a) for the purposes of international
                        search only in the form of an Annex C/ST.25 text file.
                c.      furnished subsequent to the international filing date for the purposes of international search only:

                        1 1 in the form of an Annex C/ST.25 text file (Rule 13ter.1(a)).
                        1 1 on paper or in the form of an image file (Rule 13ter.1(b) and Administrative Instructions, Section 713).
     4.    n In addition, in the case that more than one version or copy of a sequence listing has been filed or furnished, the required
                statements that the information in the subsequent or additional copies is identical to that forming part of the application as
                filed or does not go beyond the application as filed, as appropriate, were furnished.


     5. Additional comments:




   Form PCT/ISA/237 (Box No. I) (revised January 2019)




                                                                                                                                             DEFS00050026
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 27 of 314 PageID #:
                                     4631                 application No.
                            WRITTEN OPINION OF THE
                      INTERNATIONAL SEARCHING AUTHORITY                                            PCT/US20/55078

    Box No. IV      Lack of unity of invention


        Ix' In response to the invitation (Form PCT/ISA/206) to pay additional fees the applicant has, within the applicable time limit:
                      paid additional fees.

                      paid additional fees under protest and, where applicable, the protest fee.

                      paid additional fees under protest but the applicable protest fee was not paid.

               x      not paid additional fees.

    2          This Authority found that the requirement of unity of invention is not complied with and chose not to invite the applicant to
               pay additional fees.

    3. This Authority considers that the requirement of unity of invention in accordance with Rule 13.1, 13.2 and 13.3 is

               complied with.

         x     not complied with for the following reasons:
   - "-Please See Supplemental Page-***-




           Consequently, this opinion has been established in respect of the following parts of the international application:

           I I all parts.
            x the parts relating to claims Nos. -"*"-Please See Supplemental Page-***-
   Form PCT/ISA/237 (Box No. IV) (revised January 2019)




                                                                                                                                           DEFS00050027
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 28 of 314 PageID #:
                                     4632                 application. No.
                            WRITTEN OPINION OF THE
                      INTERNATIONAL SEARCHING AUTHORITY                                              PCT/US20/55078

   Box No. V         Reasoned statement under Rule 43bis.1(a)(i) with regard to novelty, inventive step and industrial applicability;
                     citations and explanations supporting such statement


    I.   Statement

            Novelty (N)                          Claims         1, 5-6, 16-18, 26, 31-35, 38-40                                           YES
                                                 Claims          NONE                                                                     NO


            Inventive step (IS)                  Claims         26                                                                        YES
                                                  Claims         1, 5-6, 16-18, 31-35, 38-40                                              NO


             Industrial applicability (IA)        Claims         1, 5-6, 16-18, 26, 31-35, 38-40                                          YES
                                                 Claims          NONE                                                                     NO




    2.   Citations and explanations:
   Claims 1, 5-6 and 17-18 lack an inventive step under PCT Article 33(3) as being obvious over the publication entitled "Targeted Protein
   Internalization and Degradation by ENDosome TArgeting Chimeras (ENDTACs)" by Nalawansha, at al. (hereinafter "Nalawansha") in view
   of US 2007/0077197 Al to Wedeking, et al. (hereinafter "Wedeking").

   As per claim 1, Nalawansha discloses a compound comprising formula I (as shown in figure 1, ENDTAC conjugate comprises extracellular
   protein of interest POI recruiting ligand linked to the cell surface receptor binding ligand; page 3, figure 1), wherein: the Protein binder is a
   molecule that binds to an extracellular protein (as shown in figure 1, the extracellular protein of interest POI recruiting ligand moiety binds
   to the extracellular protein of interest P01; page 3, figure 1); the CRBM is a cellular receptor binding moiety that binds to at least one
   receptor on the surface of a degrading cell (as shown in figure 1, the cell surface receptor binding ligand moiety binds G-protein coupled
   receptor GPCR on the surface of the cell that internalizes the complex with the attached protein of interest POI via endocytosis for
   lysosomal degradation, i.e., where the cell is the extracellular protein degrading cell; page 3, figure 1) in a subject (extracellular targets
   initiate aberrant signaling in cancer, i.e., where cancer is in the subject, we developed an approach to internalize extracellular proteins;
   abstract), whereby binding of I leads to endocytosis and degradation of the extracellular protein (as shown in figure 1, binding of ENDTAC
   conjugate to the GPCR on the cell surface, leads to internalization of the complex with the attached protein followed by endocytosis for
   lysosomal degradation of the extracellular protein of interest P01; page 3, figure 1); each CON is independently a bond that covalently
   links a Protein binder to an CRBM (as shown in figure 2A, in the ENDTAC conjugate covalent bond links the chloroalkyl moiety that targets
   extracellular POI to the cell surface receptor binding ligand; page 5, figure 2A); the Linker is a group having a valence 2 (as shown in
   figure 2A, the ENDTAC conjugate comprises a polyethylene glycol linker, one valency of which is attached to the chloroalkyl and the other
   one is to the cell surface receptor binding ligand; page 5, figure 2A); k' is 1 (as shown in figure 2A, the ENDTAC conjugate comprises one
   chloroalkyl moiety that targets extracellular POI, k' is 1; page 3, figure 1; page 5, figure 2A); his 0 (as shown in figure 2A, in the ENDTAC
   conjugate the chloroalkyl moiety that targets extracellular POI is liked directly to the polyethylene glycol linker, h is 0; page 3, figure 1;
   page 5, figure 2A); h' is 0 (as shown in figure 2A, in the ENDTAC conjugate the surface receptor binding ligand moiety is liked directly to
   the polyethylene glycol linker, h' is 0; page 3, figure 1; page 5, figure 2A); j' is 1 (as shown in figure 2A, the ENDTAC conjugate comprises
   one cell surface receptor binding ligand moiety, j' is 1; page 3, figure 1; page 5, figure 2A). Nalawansha does not disclose wherein i is O.
    However, Wedeking discloses wherein i is 0 (in conjugate 36 shown in figure 14A, the folic acid residue shown in paragraph [0089], is
    linked directly, i.e., i is 0, to two chelating ligands 17b having conjugable amino function and shown in protected form in figure 8; figures 8,
   14A; paragraphs [0074], [0089]). It would have been obvious to a person of ordinary skill in the art, at the time of the invention, to have
    modified the compound, as previously disclosed by Nalawansha, in order to have provided for wherein i is 0, as previously disclosed by
   Wedeking (Wedeking; figures 8, 14A; paragraphs [0074), [0089]), to adjust the structure of the conjugate to improve the properties of the
    conjugate in conducting targeted endocytosis of the protein of interest POI via lysosomal degradation (Nalawansha; page 3, figure 1).
    Further, provided that Nalawansha and Wedeking both disclose the use of the conjugates of the ligands targeting cell surface receptors to
    enhance the transport of the agents or compounds across the membrane of living cells through the receptor-mediated endocytosis
    (Nalawansha; abstract; page 3, figure 1; page 5, figure 2A) (Wedeking; paragraphs [0008], [0061]) targeting folate receptors (Nalawansha;
    folate receptor can be used to selectively deliver a wide range of therapeutic agents; page 1079, second column, second paragraph)
    (Wedeking; the composition comprises macrocyclic and non-macrocyclic ligands selectively coupled to folate-receptor binding ligands;
    paragraph [0051]), the modification to Nalawansha's compound, of providing for wherein i is 0, would provide the benefit of adjusting the
    structure of the conjugate to improve the properties of the conjugate in conducting targeted endocytosis of the protein of interest POI via
    lysosomal degradation (Nalawansha; page 3, figure 1).

   As per claim 5, Nalawansha and Wedeking, in combination, disclose the compound of claim 1, and Nalawansha further discloses wherein
   k' is 1 (as shown in figure 2A, the ENDTAC conjugate comprises one chloroalkyl moiety that targets extracellular POI, k' is 1; page 3,
   figure 1; page 5, figure 2A).

   As per claim 6, Nalawansha and Wedeking, in combination, disclose the compound of claim 1, and Nalawansha further discloses wherein
   j' is 1 (as shown in figure 2A, the ENDTAC conjugate comprises one cell surface receptor binding ligand moiety, j' Is 1; page 3, figure 1;
   page 5, figure 2A)

   As per claim 17, Nalawansha and Wedeking, in combination, disclose the compound of claim 1, and in a separate embodiment
   Nalawansha further discloses wherein the CRBM is a folic acid folate receptor binder (folate receptor can be used to selectively deliver a

   -***-Continued in Supplemental Box-***



   Form PCT/ISA/237 (Box No. V) (revised. January 2019)




                                                                                                                                                DEFS00050028
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 29 of 314 PageID #:
                                     4633                 application No.
                            WRITTEN OPINION OF THE
                      INTERNATIONAL SEARCHING AUTHORITY                                              PCT/US20/55078


    Box No. VIII Certain observations on the international application


    The following observations on the clarity of the claims, description, and drawings or on the question whether the claims are fully
    supported by the description, are made:


    Claims 1 and 6 are objected to under PCT Rule 66.2(a)(v) as lacking clarity under PCT Article 6 because claims 1 and 6 are indefinite for
    the following reason(s): the formula of Claim 1 discloses a variable j', where the description of variables in claims 1 and 6 discloses a
    variable j and does not disclose variable j', which renders the claim indefinite. For examination purposes, variable j in the description will
    be interpreted as j'.

    Claim 26 is objected to under PCT Rule 66.2(a)(v) as lacking clarity under PCT Article 6 because claim 26 is indefinite for the following
    reason(s): Claim 26 refers to "wherein the Protein binder that binds to CD4OL comprises", in line 2, where the preceding claim 1 does not
    disclose "binder that binds to CD4OL". There is a lack of antecedent basis for these limitations in the claim. For the purpose of this opinion,
    as best understood, the claim is interpreted to read "wherein the Protein binder binds to CD4OL and comprises".

    Claim 26 is objected to under PCT Rule 66.2(a)(v) as lacking clarity under PCT Article 6 because claim 26 is indefinite for the following
    reason(s): the first formula of Claim 26 discloses a moiety of Protein binder has two linking groups independently connected to the
    cyclohexyl and pyrrolidine moieties, thus inking Protein binder to at least two other moieties, where the preceding claim 1 discloses a
    formula in which k' is 1, h is 0, i is 0, h' is 0 and j' is 1, i.e., where one Protein binder is linked to one CRBM, which renders the claim
    indefinite. For examination purposes, an assumption was made that CRBM is attached to the Protein binder at either one cyclohexyl or
    pyrrolidine moiety, and the second unused moiety is linked to a hydrogen.

    Claim 26 is objected to under PCT Rule 66.2(a)(v) as lacking clarity under PCT Article 6 because claim 26 is indefinite for the following
    reason(s): the first formula of claim 26 discloses a compound comprising two instances of a methylene bridge connecting two pyrrolidine
    moieties, where the methylene bridge in each of these instances has a specific stereo-chemical configuration, where in each of these two
    instances two identical hydrogen atoms are attached to the carbon atom of the methylene bridge, which excludes fixed or determined
    stereo-chemical configurations of this moiety, which renders the claim indefinite. For examination purposes, the stereo-chemical
    configurations of the methylene bridges connecting two pyrrolidine moieties will be ignored.




   Form PCT/ISA/237 (Box No. VIII) (revised January 2019)




                                                                                                                                                   DEFS00050029
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 30 of 314 PageID #:
                                     4634                 application No.
                            WRITTEN OPINION
                      INTERNATIONAL SEARCHING AUTHORITY                                              PCT/US20/55078

    Supplemental Box


    In case the space in any of the preceding boxes is not sufficient.
    Continuation of:
     **-Continued From Box IV (ii): Lack of unity of invention-***-

   This application contains the following inventions or groups of inventions which are not so linked as to form a single general inventive
   concept under PCT Rule 13.1. In order for all inventions to be examined, the appropriate additional examination fees must be paid.

   Groups 1+, Claims 1-40, a compound encompassing Formula I, wherein the protein binder encompasses a moiety that binds to CD4OL, as
   in claim 26, k' is 1, h, i, and h' are each 0; j' is 1, the CRBM encompasses folic acid (compound structure), and Addison's Disease (disease
   or disorder) are directed toward compounds, compositions comprising the compounds, and methods associated therewith.

   The compounds, compositions, and methods will be searched to the extent they encompass a compound encompassing Formula I,
   wherein the protein binder encompasses a moiety that binds to CD40L, as in claim 26, k' is 1, h, i, and h' are each 0; J' is 1, the CRBM
   encompasses folic acid (first exemplary compound structure), and Addison's Disease (first exemplary disease or disorder). Applicant is
   invited to elect additional compound(s), with fully specified structure(s) thereof, including, where applicable, specified SEQ ID NO: for each,
   such that the sequence and structure of each elected compound species is fully specified (i.e. no optional or variable atoms, bonds,
   residues or substituents), and/or additional disease(s) or disorder(s) to be searched. Additional compound(s) and/or disease(s) or
   disorder(s) will be searched upon the payment of additional fees. It is believed that claims 1 (in-part), 5-6 (each in-part), 16-18 (each
   in-part), 26 (in-part), 31-35 (each in-part), and 38-40 (each in-part) encompass this first named invention and thus these claims will be
   searched without fee to the extent that they encompass a compound encompassing Formula I, wherein the protein binder encompasses a
   moiety that binds to CD4OL, as in claim 26, k' is 1, h, i, and h' are each 0; j' is 1, the CRBM encompasses folic acid (compound structure),
   and Addison's Disease (disease or disorder). Applicants must specify the searchable claims that encompass any additionally elected
   compound(s) and/or disease(s) or disorder(s). Applicants must further indicate, if applicable, the claims which encompass the first named
   invention, if different than what was indicated above for this group. Failure to clearly identify how any paid additional invention fees are to
   be applied to the "+" group(s) will result in only the first claimed invention to be searched/examined. An exemplary election would be a
   compound encompassing Formula I, wherein the protein binder encompasses a moiety that binds to CD4OL, as in claim 26, k' is 1, h, and
   h' are each 0; i is 1, and the linker encompasses a polyethylene glycol containing linker having 1-12 ethylene glycol residues; j' is 1, the
   CRBM encompasses folic acid (compound structure).

   No technical features are shared between the compounds and/or diseases or disorders of Groups 1+ and, accordingly, these groups lack
   unity a priori.

   Groups I+ share the technical features including: a compound comprising formula (I), or a salt, geometric isomer, stereoisomer, or solvate
   thereof: [Protein binder]k'-[CON]h4Linkerli-[CON]h'-[CRBM]I (I), wherein: the Protein binder is a molecule that binds to an extracellular
   protein; the CRBM is a cellular receptor binding moiety that binds to at least one receptor on the surface of a degrading cell in a subject,
   whereby binding of (I) leads to endocytosis and degradation of the extracellular protein; each CON is independently a bond or a group that
   covalently links a Protein binder to an CRBM, a Protein binder to a Linker, and/or a Linker to a CRBM; the Linker is a group having a
   valence ranging from 1 to 15; k' is an integer ranging from 1 to 15; h is an integer ranging from 0 to 15; i is an integer ranging from 0 to 15;
   h' is an integer ranging from 0 to 15; j' is an integer ranging from 1 to 15; a pharmaceutical composition comprising at least one
   pharmaceutically acceptable excipient and at least one compound; and a method of treating, ameliorating, and/or preventing a disease or
   disorder in a subject, the method comprising administering a therapeutically effective amount of at least one compound.

   However, these shared technical features are previously disclosed by US 2019/0000984 Al to Regeneron Pharmaceuticals, Inc.
   (hereinafter 'Regeneron').

   Regeneron discloses a compound comprising formula (I): [Protein binder]ic'-[CON]hr[Linker]i-[CON]hi-[CRBMF (I) (a multispecific antigen
   binding molecule comprising a first antigen binding domain, and a second antigen binding domain, wherein the antigen binding domains
   comprise covalently associated binding polypeptides (a compound comprising formula (I): [Protein
   binder]k.-[CON]h4Linkerli-[CON]hi-[CRBM]r (I)); paragraphs [0004],[0040]), wherein: the Protein binder is a molecule that binds to an
   extracellular protein (wherein D1 binds to an extracellular, optionally soluble antigen (the Protein binder is a molecule that binds to an
   extracellular protein); Figure 1, paragraphs [0004], [0008]); the CRBM is a cellular receptor binding moiety that binds to at least one
   receptor on the surface (D2 binds to an internalizing antigen on the surface of a cell (the CRBM is a cellular receptor binding moiety that
   binds to at least one receptor on the surface); Figure 1B, paragraphs [0004], [0008], (0059)) of a degrading cell in a subject, whereby
   binding of (I) leads to endocytosis and degradation of the extracellular protein (of a degrading cell in a subject, whereby binding of (I) leads
   to endocytosis and degradation of the extracellular antigen (extracellular protein); paragraphs [0003], (0059]); a pharmaceutical
   composition comprising at least one pharmaceutically acceptable excipient and at least one compound (pharmaceutical composition
   comprising at least one pharmaceutically acceptable excipient and at least one compound; paragraph (00841); and a method of treating,
   ameliorating, and/or preventing a disease or disorder in a subject, the method comprising administering a therapeutically effective amount
   of at least one compound (a method of treating, ameliorating, and/or preventing sepsis (a disease or disorder) in a subject, the method
   comprising administering a therapeutically effective amount of at least one compound paragraphs [0085], [0118]).

    Since none of the special technical features of the Groups I+ inventions is found in more than one of the inventions, and since all of the
    shared technical features are previously disclosed by the Regeneron reference, unity of invention is lacking.

    -*"*-Continued From Box IV (Hi)-**"-

    Groups 1+, Claims 1-40, a compound encompassing Formula I, wherein the protein binder encompasses a moiety that binds to CD4OL, as
    in claim 26, k' is 1, h, i, and h' are each 0; j' is 1, the CRBM encompasses folic acid (compound structure), and Addison's Disease (disease
    or disorder)




   Form PCT/ISA/237 (Supplemental Box) (revised January 2019)




                                                                                                                                                 DEFS00050030
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 31 of 314 PageID #:
                                     4635                 application No.
                            WRITTEN OPINION OF THE
                      INTERNATIONAL SEARCHING AUTHORITY                                              PCT/US20/55078

    Supplemental Box


    In case the space in any of the preceding boxes is not sufficient.
    Continuation of:
   -***-Continued From Box V. 2: Citations and Explanations***-

   wide range of therapeutic agents; page 3, first paragraph). It would have been obvious to a person of ordinary skill in the art, at the time of
   the invention, to have modified the compound, as previously disclosed by Nalawansha, in order to have provided for wherein the CRBM is
   a folic acid folate receptor binder, as previously disclosed by Nalawansha in a separate embodiment (page 3, first paragraph), to adjust the
   structure of the conjugate to improve the properties of the conjugate in conducting targeted endocytosis of the protein of interest POI via
   lysosomal degradation (Nalawansha; page 3, figure 1). Further, provided that in both embodiments Nalawansha discloses the use of the
   conjugates of the ligands targeting cell surface receptors to enhance the transport of the agents or compounds across the membrane of
   living cells through the receptor-mediated endocytosis (Nalawansha; abstract; page 3, first paragraph; page 3, figure 1; page 5, figure 2A)
   (Wedeking; paragraphs [0008], [0061]), the modification to Nalawansha's compound, of providing for wherein the CRBM is a folic acid
   folate receptor binder, would provide the benefit of adjusting the structure of the conjugate to improve the properties of the conjugate in
   conducting targeted endocytosis of the protein of interest POI via lysosomal degradation (Nalawansha; page 3, figure 1).

   As per claim 18, Nalawansha and Wedeking, in combination, disclose the compound of claim 1, and Nalawansha further discloses wherein
   the CRBM is: a folic acid folate receptor binder (folate receptor can be used to selectively deliver a wide range of therapeutic agents; page
   3, first paragraph). Nalawansha does not disclose a a folic acid folate receptor binder comprising folic acid. However, Wedeking discloses
   the folic acid folate receptor hinder (the composition comprises macrocyclic and non-macrocyclic ligands selectively coupled to
   folate-receptor binding ligands; paragraph [0051]) comprising folic acid (in conjugate 36 shown in figure 14A, the folic acid residue shown
   in paragraph [0089], is linked directly to two chelating ligands 17b having conjugable amino function and shown in protected form in figure
   8; figures 8, 14A; paragraphs [0074], [0089]). It would have been obvious to a person of ordinary skill in the art, at the time of the invention,
   to have modified the method, as previously disclosed by Nalawansha, in order to have provided for the folic acid folate receptor binder
   comprising folic acid, as previously disclosed by Wedeking (Wedeking; figures 8, 14A; paragraphs [0051], [0074], [0089]), to adjust the
   structure of the conjugate to improve the properties of the conjugate in conducting targeted endocytosis of the protein of interest POI via
   lysosomal degradation (Nalawansha; page 3, figure 1).


   Claim 16 lacks an inventive step under PCT Article 33(3) as being obvious over Nalawansha in view of Wedeking, and further in view of
   the publication entitled "Asialoglycoprotein receptor mediated hepatocyte targeting - Strategies and applications" by D'Souza, et al.
   (hereinafter "D'Souza").

   AAs per claim 16, Nalawansha and Wedeking, in combination, disclose the compound of claim 1, and Nalawansha further discloses the
   degrading cell (as shown in figure 1, the cell surface receptor binding ligand moiety binds G-protein coupled receptor GPCR on the surface
   of the cell that internalizes the complex with the attached protein of interest POI via endocytosis for lysosomal degradation, i.e., where the
   cell is the extracellular protein degrading cell; page 3, figure 1). Nalawansha does not disclose wherein the degrading cell comprises a
   hepatocyte. However, D'Souza discloses wherein the degrading cell comprises a hepatocyte (hepatocytes is an attractive target for
   asialoglycoprotein receptor-mediated drug delivery of drug-ligand conjugates with minimum-concerns of toxicity, which facilitates
   internalization by endocytosis and is useful for therapy of hepatic afflictions; abstract). It would have been obvious to a person of ordinary
   skill in the art, at the time of the invention, to have modified the compound, as previously disclosed by Nalawansha, in order to have
   provided for wherein the degrading cell comprises a hepatocyte, as previously disclosed by D'Souza (D'Souza; abstract), to provide
   additional information on the type of the cells that would be useful in the endocytosis-based protein degradation methodology targeting
   inflammation (Nalawansha; abstract; page 3, figure 1; page 5, figure 2A). Further, provided that Nalawansha and D'Souza both disclose
   potential therapeutic applications of the conjugates targeting cellular receptors for delivery of compounds (Nalawansha; abstract; page 3,
   figure 1; page 5, figure 2A) (D'Souza; abstract), the modification to Nalawansha's compound, of providing for wherein the degrading cell
   comprises a hepatocyte, would provide the benefit of providing additional information on the type of the cells that would be useful in the
   endocytosis-based protein degradation methodology targeting inflammation (Nalawansha; abstract; page 3, figure 1; page 5, figure 2A).



   Claims 31-35 and 38-40 lack an inventive step under PCT Article 33(3) as being obvious over Nalawansha in view of Wedeking, and
   further in view of US 2004/0009907 Al to Alsobrook II, et al. (hereinafter "Alsobrook").

   As per claim 31, Nalawansha and Wedeking, in combination, disclose the compound of claim 1. Nalawansha does not disclose
   pharmaceutical composition comprising at least one pharmaceutically acceptable excipient and at least one compound. However,
   Alsobrook discloses pharmaceutical composition comprising at least one pharmaceutically acceptable excipient and at least one
   compound (active compound can be incorporated with excipients and used, pharmaceutical compositions include therapeutically-effective
   amounts of a therapeutic and a pharmaceutically-acceptable carrier; paragraphs [0008], [1719]). It would have been obvious to a person of
   ordinary skill in the art, at the time of the invention, to have modified the compound, as previously disclosed by Nalawansha, in order to
   have provided for pharmaceutical composition comprising at least one pharmaceutically acceptable excipient and at least one compound,
   as previously disclosed by Alsobrook (Alsobrook; paragraphs [0008], [1719]), to provide the conjugates targeting cancer and inflammation
   (Nalawansha; abstract) in the pharmaceutically acceptable form to improve the effectiveness of the conjugates. Further, provided that
   Nalawansha and Alsobrook both disclose the use of the conjugates targeting host cell receptors to facilitate transport across the cell
   membrane (Nalawansha; abstract; page 3, figure 1; page 5, figure 2A) (Alsobrook; paragraph [1611]) for endocytosis (Nalawansha;
   abstract; page 3, figure 1; page 5, figure 2A) (Alsobrook; paragraphs [0115], [0459]) targeting inflammation (Nalawansha; abstract)
   (Alsobrook; paragraphs [1825], [1852], [2027]), the modification to Nalawansha's compound, of providing for pharmaceutical composition
   comprising at least one pharmaceutically acceptable excipient and at least one compound, would provide the benefit of providing the
   conjugates targeting cancer and inflammation (Nalawansha; abstract) in the pharmaceutically acceptable form to improve the effectiveness
   of the conjugates.

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   As per claim 32, Nalawansha, Wedeking and Alsobrook, in combination, disclose the pharmaceutical composition of claim 31. Nalawansha
   does not disclose comprising another therapeutically active agent that treats a disease or disorder. However, Alsobrook discloses
   comprising another therapeutically active agent (supplementary active compounds can also be incorporated into the compositions;
   paragraph [1715]) that treats a disease or disorder (nucleic acids and proteins are useful in therapeutic applications in diseases, i.e., for
   treatment of the diseases, when administered to a subject in need thereof; paragraph [0063]). It would have been obvious to a person of
   ordinary skill in the art, at the time of the invention, to have modified the pharmaceutical composition, as previously disclosed by
   Nalawansha, in order to have provided for comprising another therapeutically active agent that treats a disease or disorder, as previously
   disclosed by Alsobrook (Alsobrook; paragraphs [0063], [1715]), to provide additional details on application of the conjugate in targeting
   inflammation and related conditions (Nalawansha; abstract).

   As per claim 33, Nalawansha and Wedeking, in combination, disclose the compound of claim 1. Nalawansha does not disclose a method
   of treating a disease or disorder in a subject, the method comprising administering a therapeutically effective amount of at least one
   compound. However, Alsobrook discloses the method of treating a disease or disorder in a subject (nucleic acids and proteins are useful in
   therapeutic applications in diseases, i.e., for treatment of the diseases, when administered to a subject in need thereof; paragraph [0063]),
   the method comprising administering a therapeutically effective amount of at least one compound (nucleic acids and proteins are useful in
   therapeutic applications in diseases, i.e., for treatment of the diseases, when administered to a subject in need thereof, pharmaceutical
   compositions include therapeutically- effective amounts of a therapeutic; paragraphs [0008], [0063]). It would have been obvious to a
   person of ordinary skill in the art, at the time of the invention, to have modified the compound, as previously disclosed by Nalawansha, in
   order to have provided for the method of treating a disease or disorder in a subject, the method comprising administering a therapeutically
   effective amount of at least one compound, as previously disclosed by Alsobrook (Alsobrook; paragraphs [0008], [0063]), to provide
   additional details on application of the conjugate in targeting inflammation and related conditions (Nalawansha; abstract).

   As per claim 34, Nalawansha, Wedeking and Alsobrook, in combination, disclose the method of claim 33. Nalawansha does not disclose
   wherein the disease or disorder comprises an autoimmune disease. However, Alsobrook discloses wherein the disease or disorder
   comprises an autoimmune disease (Nrampl regulates macrophage activation in infectious and autoimmune diseases, and further, gene
   CG57670-01 is expressed at low levels in the adrenal gland, and it activation increases oxidative metabolism in this tissue in a treatment
   for Addison's disease, where Addison's disease is the autoimmune disease, as disclosed in claim 35 of the Instant application; paragraphs
   [0274], [2332]). It would have been obvious to a person of ordinary skill in the art, at the time of the invention, to have modified the method,
   as previously disclosed by Nalawansha, in order to have provided for wherein the disease or disorder comprises an autoimmune disease,
   as previously disclosed by Alsobrook (Alsobrook; paragraphs [0274], [2332]), to provide additional details on application of the conjugate in
   targeting inflammation and related conditions (Nalawansha; abstract).

   As per claim 35, Nalawansha, Wedeking and Alsobrook, in combination, disclose the method of claim 34. Nalawansha does not disclose
   wherein the autoimmune disease comprises Addison's Disease. However, Alsobrook discloses wherein the autoimmune disease
   comprises Addison's Disease (gene CG57670-01 is expressed at low levels in the adrenal gland, and it activation increases oxidative
   metabolism in this tissue in a treatment for Addison's disease, where Addison's disease is the autoimmune disease, as disclosed in claim
   35 of the instant application; paragraphs [0274], [2332]). It would have been obvious to a person of ordinary skill in the art, at the time of
   the invention, to have modified the method, as previously disclosed by Nalawansha, in order to have provided for wherein the autoimmune
   disease comprises Addison's Disease, as previously disclosed by Alsobrook (Alsobrook; paragraphs [0274], [2332]), to provide additional
   details on application of the conjugate in targeting inflammation and related conditions (Nalawansha; abstract).

   As per claim 38, Nalawansha, Wedeking and Alsobrook, in combination, disclose the method of claim 33. Nalawansha does not disclose
   wherein the subject is further administered at least one additional therapeutic agent that treats the disease or disorder. However,
   Alsobrook discloses wherein the subject is further administered at least one additional therapeutic agent (supplementary active compounds
   can also be incorporated into the compositions; paragraph [1715]) that treats the disease or disorder (nucleic acids and proteins are useful
   in therapeutic applications in diseases, i.e., for treatment of the diseases, when administered to a subject in need thereof; paragraph
   [0063]). It would have been obvious to a person of ordinary skill in the art, at the time of the invention, to have modified the method, as
   previously disclosed by Nalawansha, in order to have provided for wherein the subject is further administered at least one additional
   therapeutic agent that treats the disease or disorder, as previously disclosed by Alsobrook (Alsobrook; paragraphs [0063], [1715]), to
   provide additional details on application of the conjugate in targeting inflammation and related conditions (Nalawansha; abstract).

   As per claim 39, Nalawansha, Wedeking and Alsobrook, in combination, disclose the method of claim 33. Nalawansha does not disclose
   wherein the subject is a mammal. However, Alsobrook discloses wherein the subject is a mammal (the subject is a human subject;
   paragraph [0019]). It would have been obvious to a person of ordinary skill in the art, at the time of the invention, to have modified the
   method, as previously disclosed by Nalawansha, in order to have provided for wherein the subject is a mammal, as previously disclosed by
   Alsobrook (Alsobrook; paragraphs [0019]), to provide additional details on application of the conjugate in targeting inflammation and
   related conditions (Nalawansha; abstract).

   As per claim 40, Nalawansha, Wedeking and Alsobrook, in combination, disclose the method of claim 33. Nalawansha does not disclose
   wherein the subject is a human. However, Alsobrook discloses wherein the subject is a human (the subject is a human subject; paragraph
   [0019]). It would have been obvious to a person of ordinary skill in the art, at the time of the invention, to have modified the method, as
   previously disclosed by Nalawansha, in order to have provided for wherein the subject is a human, as previously disclosed by Alsobrook
   (Alsobrook; paragraphs [0019]), to provide additional details on application of the conjugate in targeting inflammation and related
   conditions (Nalawansha; abstract).



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   Claim 26 meets the criteria set out in PCT Article 33(2)-(3), because the prior art does not teach or fairly suggest the claimed matter.

   Nalawansha discloses the Protein binder (as shown in figure 1, the extracellular protein of interest POI recruiting ligand moiety binds to the
   extracellular protein of interest P01; page 3, figure 1). However, Nalawansha does not disclose wherein the Protein binder binds to CD4OL
   and comprises the moiety, as shown, where the stereo-chemical configuration of the cyclohexylglycine moiety is as shown, wherein the
   compound is conjugated to another compound through the pyrrolidine or cyclohexyl links, as shown.

   US 2007/0249682 Al to Zheng, et al. (hereinafter "Zheng") discloses wherein the Protein binder binds to CD4OL (the compounds are
   CD40:CD154 binding compounds, CD154 is also known as CD4OL, gp39, T-BAM, 5c8 antigen, CD4OCR and TRAP; abstract; paragraph
   [0002]) and comprises the moiety, as shown (compound of formula 6, where the compound is derived from S-amines; paragraph [0048]),
   where the stereo-chemical configuration of the cyclohexylglycine moiety is as shown (the compound is derived from S-amines, the
   stereo-chemical configuration of the cyclohexylglycine moiety is as shown, and further, the stereo-chemical configuration of the
   cyclohexylglycine precursor 424 in column 3, line 2 in table II on page 14 is as shown; paragraphs [0048], [0095]). However, Zheng does
   not disclose wherein the compound is conjugated to another compound through the pyrrolidine or cyclohexyl links, as shown.

   US 2016/0362450 Al (Cara Therapeutics, Inc.) (hereinafter "Cara") discloses wherein the compound is conjugated to another compound
   through the pyrrolidine link (compounds were synthesized using Solid phase peptide chemistry, as sown in figure 2, the second compound
   is attached to the solid phase shown in dark circle, i.e., as a conjugate, through pyrrolidine link; figure 2; paragraph [0237]). However,
   Cara does not disclose wherein the Protein hinder binds to CD4OL and comprises the moiety, as shown, where the stereo-chemical
   configuration of the cyclohexylglycine moiety is as shown. Further, using the embodiment of Cara to modify the disclosure of Zheng can
   not be done without the benefit of impermissible hindsight.

   Nalawansha, Zheng, and Cara, alone or in combination, do not provide any motivation for providing for wherein the. Protein binder binds to
   CD4OL and comprises the moiety, as shown, where the stereo-chemical configuration of the cyclohexylglycine moiety is as shown, wherein
   the compound is conjugated to another compound through the pyrrolidine or cyclohexyl links, as shown, and though Zheng discloses
   wherein the Protein binder binds to CD4OL and comprises the moiety, as shown, where the stereo-chemical configuration of the
   cyclohexylglycine moiety is as shown, Zheng does not disclose wherein the compound is conjugated to another compound through the
   pyrrolidine or cyclohexyl links, as shown. Cara discloses wherein the compound is conjugated to another compound through the pyrrolidine
   link. However, Cara does not disclose wherein the Protein binder binds to CD4OL and comprises the moiety, as shown, where the
   stereo-chemical configuration of the cyclohexylglycine moiety is as shown. A combination of the references would not work because in
   order to meet the claim limitations, one would have to modify the compound disclosed by Nalawansha so that the compound would
   comprise the moiety, as shown, wherein the compound is conjugated to another compound through the pyrrolidine or cyclohexyl links, as
   shown. Additionally, Nalawansha does not express a desire to modify the compounds to include the limitations of the applicants. It would
   not be obvious to blend the compounds of the records of reference and would be impermissible hindsight in order to invent the applicant's
   compounds.



   Claims 1, 5-6, 16-18, 26, 31-35 and 38-40 have industrial applicability as defined by PCT Article 33(4) because the subject matter can be
   made or used in industry.




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  From:          Lopez, Jovan [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=3B24969D7CD14D01BDCOEDB70B5305F7-JAL323]
  Sent:          5/4/2023 11:25:30 AM
  To:            Mcdonald, David [david.mcdonald@yale.edu]
  Subject:


  Hi David,

  Could you try sending the attachment again? I couldn't see it on my end.




  All my best,
  Jovan




  From: Mcdonald, David <david.mcdonald@yale.edu>
  Sent: Wednesday, May 3, 2023, 21:51
  To: Lopez, Jovan <jovan.lopez@yale.edu>
  Subject: Measuring CpaA depletion using HiBiT/LgBiT




HIGHLY CONFIDENTIAL                                                                            YALE00008613
     Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 150 of 314 PageID #:
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  Hi Javan,




  Cheers,

  David.




HIGHLY CONFIDENTIAL                                                             YALE00008614
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                                     4755




                   EXHIBIT 19
        Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 152 of 314 PageID #:
                                             4756

  From:         Wiesler, William [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=FA3C3C1BE2AC4BBB903185EEF1F8503B-WW84]
  Sent:         12/7/2018 4:26:21 PM
  To:           Iwasaki, Akiko [akiko.iwasaki@yale.edu]; Miranker, Andrew [andrew.miranker@yale.edu]; Xiao, Andrew
                [andrew.xiao@yale.edu]; anna.pyle@yale.edu [anna.pyle@bulldogs.yale.edu]; Van den Pol, Anthony
                [anthony.vandenpol@yale.edu]; Bennett, Anton [anton.bennett@yale.edu]; Pedroso Balbo, Bruno
                [bruno.pedrosobalbo@yale.edu]; Fedeles, Sorin [sorin.fedeles@yale.edu]; Somlo, Stefan [stefan.somlo@yale.edu];
                Ehrlich, Barbara [barbara.ehrlich@yale.edu]; Ben Mamoun, Choukri [choukri.benmamoun@yale.edu]; Bunick,
                Christopher [christopher.bunick@yale.edu]; Bergwitz, Clemens [clemens.bergwitz@yale.edu]; Spiegel, David
                [david.spiegel@yale.edu]; Braddock, Demetrios [demetrios.braddock@yale.edu]; Isaacs, Farren
                [farren.isaacs@yale.edu]; Rinehart, Jesse [jesse.rinehart@yale.edu]; Eswarakumar, Jacob
                [jacob.eswarakumar@yale.edu]; Bender, Jeffrey [jeffrey.bender@yale.edu]; Zhou, Jiangbing
                [jiangbing.zhou@yale.edu]; Deacon, John [john.deacon@yale.edu]; Saltzman, W. Mark [mark.saltzman@yale.edu];
                Girardi, Michael [michael.girardi@yale.edu]; Vukmirovic, Milica [milica.vukmirovic@yale.edu]; Kaminski, Naftali
                [naftali.kaminski@yale.edu]; Sestan, Nenad [nenad.sestan@yale.edu]; Lee, Patty [patty.lee@yale.edu]; Turner, Paul
                [paul.turner@yale.edu]; Bonde, Pramod [pramod.bonde@yale.edu]; Chen, Sidi [sidi.chen@yale.edu]; Strittmatter,
                Stephen [stephen.strittmatter@yale.edu]; Kyriakides, Themis [themis.kyriakides@yale.edu]; Mehal, Wajahat
                [wajahat.mehal@yale.edu]; william.jorgensen@yale.edu [william.jorgensen@bulldogs.yale.edu]; Ha, Ya
                [ya.ha@yale.edu]; Zhu, Yong [yong.zhu@yale.edu]
  CC:           Puziss, John [john.puziss@yale.edu]; Lewin, David [david.lewin@yale.edu]; Unsworth, Christopher
                [christopher.unsworth@yale.edu]; Peng, Hong [hong.peng@yale.edu]; Truax, Valarie [valarie.truax@yale.edu];
                Kadiri, Lolahon [lolahon.kadiri@yale.edu]; Andersson, Richard [richard.andersson@yale.edu]; Boyle, James
                [james.g.boyle@yale.edu]; Schrager, Lori [lori.schrager@yale.edu]; Fedeles, Sorin [sorin.fedeles@yale.edu]; Siegert,
                Timothy [timothy.siegert@yale.edu]; Rufo, Caroline [caroline.rufo@yale.edu]; Vukmirovic, Milica
                [milica.vukmirovic@yale.edu]; Opstrup, Tim [timothy.opstrup@yale.edu]; Vance, Julie [julie.vance@yale.edu];
                Grassie, Morag [morag.grassie@yale.edu]
  Subject:      BLAVATNIK SEMIFINALISTS- FULL APPLICATION DEADLINE IS MONDAY, DEC. 10th, 5pm


  Dear Blavatnik Semifinalists,

  Our deadline to SUBMIT your ENTIRE BLAVATNIK APPLICATION, most importantly the updated slides for Pitchfest is
  5pm Monday December 10th. There is a lot of work to do to prepare them all for seamless presentation at
  Pitchfest. They will be compiled into a single file, and so we WILL NOT BE ACCOMODATING LAST MINUTE
  CHANGES. DO NOT SHOW UP TO PITCHFEST WITH A THUMBDRIVE ASKING TO CHANGE SLIDES.

  Your Pitchfest decks and videotaped presentations should be NON-CONFIDENTIAL. These materials, together with one
  or two of your key publications, will be made available to interested commercial parties on our Blavatnik Portal. Most
  of you do not require sharing confidential information to make a strong proposal for funding.

  OPTIONAL: If you or your OCR lead believe that disclosure of SUPPLEMENTAL CONFIDENTIAL DATA SLIDES are
  absolutely required to present a comprehensible proposal to the Blavatnik Board, then you will be allowed to
  submit SUPPLEMENTAL SLIDES, not to exceed 5 slides. (Note we will not be having you create a complete "confidential
  deck. Just extra slides if necessary). That data should be presented in a way that is COMPLETELY SELF-EXPALNATORY
  since your video will not include your explanations. Those slides (denoted with the addition of "SUP CONF" to the title)
  will also be due at 5pm on Monday December 10th'. This confidential information will be made available to commercial
  parties that are under CDA, unless you let us know a reason to proceed otherwise. Companies like AbbVie have signed
  CDAs and are actively hunting for Yale partnering opportunities.

  Use this Qualtrics Link to submit your required slide deck and any of the three optional elements (Supplemental
  Confidential Slides and 2 Publications).
  tittps:lyalesurvey,cal..qualtrics.cornijleipreview/SV8jiColsve5cfGdlALSurveyVersioniD=current&QCHL=preview

  IF YOU HAVE TWO APPLICATIONS, YOU NEED TO DO ALL OF THIS TWICE.




CONFIDENTIAL                                                                                                            YALE00004628
         Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 153 of 314 PageID #:
                                              4757
  Remember, all slide decks need slides on PATENTS, COMPETITION, and ROUGH BREAKDOWN ON USE OF FUNDS
  (guesstimate costs of the 2-4 activities that add up to $300K).

  PITCHFEST NOTES: The material presented at Pitchfest including the video will be reviewed by the Blavatnik board
  after Pitchfest to select Blavatnik Finalists. No Blavatnik decisions are made at Pitchfest.

  However, completely separate from the Blavatnik process, we will have 4 cash prizes awarded, just to make things
  fun. They are: Highest Potential Impact $1000, Most Innovative Breakthrough $1000, Best Presentation $1000, and
  Most Valuable Pitch $1500.
  Your pitch must be delivered in 5 minutes exactly. Out of fairness to your colleagues, a moderator will ask you to stop
  after 5 minutes. There will be exactly 2 minutes for questions, taking questions from one of our industry judges. We
  have judges from the very top pharmaceutical companies and biotech venture firms, including Merck, Pfizer, J&J, Polaris
  Ventures, RA Capital, Accelerator Corp., and Arch Ventures.

  Let us know of any questions or concerns you may have at any point between now and Monday's deadline.

  Best,

  Bill



  Bill Wiesler, Ph.D.
  Director of New Ventures
  Director of the Blavatnik Fund for Innovation at Yale
  Office of Cooperative Research
  YALE UNIVERSITY
  433 Temple Street, First Floor
  New Haven, CT 06511
  Tel 203.432.5406
  Mobile 203.314.4409




CONFIDENTIAL                                                                                                 YALE00004629
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                   EXHIBIT 20
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                                                                           DEFS00030689
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          MODA Pharmaceuticals
      Targeted Elimination of Pathogenic Extracellular Proteins


                           David A. Spiegel, MD, PhD


                 Yale Lifesciences Pitchfest / December 12, 2018
                                        Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 157 of 314 PageID #:
                                                                             4761




                                            Challenges with Conventional Inhibitors

                       100%
                                                                                                                           Target
    Target Occupancy




                              Therapeutic
                              Level

                       50%                                                                                     Inhibitor




                                      Log Dose




                        Occupancy of                                   Toxicity due to                            Only a specific
                        target is required                             requirement of                             activity of target
                        for drug activity,                             large systemic drug                        is controlled and
                        which mandates                                 concentrations to                          may not result in
                        sustained exposure                             ensure sufficient                          loss of function of
                        to drug substance                              functional inhibition                      other activities



2                                                                                                                                   MODA Pharmaceuticals
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                                                          4762




                                                  Our Approach: The MODA Platform
                                                  •   MODA Pharmaceuticals is built around a novel technology platform that
    Target Protein            MODA                    enables development of customizable small molecules for targeted
                                                      elimination of extracellular proteins

                                                  •   MODA small molecules are designed to bind to extracellular target
                                                      proteins and cause them to be removed from the body

                                                  •   Existing targeted small molecule strategies (e.g. Kymera, Arvinas, C4)
                                                      focus on eliminating intracellular not extracellular proteins




                                                  KEY FEATURES:

                                                  •   Extracellular protein targets are eliminated as opposed to inhibited
                                                  •   MODA therapeutics can be small molecule- or antibody-based
                                                  •   Small molecule-based design opens up avenues for oral administration
                                                  •   Potential to reduce drug exposure and off-target effects


3                                                                                                               MODA Pharmaceuticals
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                                                                       4769




     Competitive Landscape for Immunoglobulin-Targeting Technologies
                               Company         Technology Platform   Technology                                 Mode of Action
                                               Enzyme                Immunoglobulin G-degrading enzyme          Cleaves human IgG at the hinge region producing
                                                                     of Streptococcus pyogenes (IdeS)           F(ab’)2 and Fc fragments, cleaved IgG is unable to
                                                                                                                activate complement and promote other pathogenic
                                                                                                                processes
                                               Antibody              Efgartigimod- Human IgG1 Fc-fragment       Targets and binds to FcRn, blocking the recycling of
                                                                     designed using ABDEG™ technology           IgG and leading to the elimination of IgGs
         Therapeutics




                                               Antibody              SYNT001- Humanized monoclonal              Targets and binds to FcRn, blocking the recycling of
                                                                     antibody engineered to have high           IgG and leading to the elimination of IgGs
                                                                     affinity for FcRn
                                               Antibody              M281- Fully Human Fab aglycosylated        Targets and binds to FcRn, blocking the recycling of
                                                                     IgG1 monoclonal antibody                   IgG and leading to the elimination of IgGs


                                               Antibody              Rozanolixizumab- a humanized high-         Targets and binds to FcRn, blocking the recycling of
                                                                     affinity anti-human neonatal Fc receptor   IgG and leading to the elimination of IgGs
                                                                     (FcRn) monoclonal antibody (IgG4P)
         Plasmapheresis/IVIG




         THE MODA
        ADVANTAGE

10                                                                                                                                                             MODA Pharmaceuticals
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                                     4771




          MODA Pharmaceuticals

                           David A. Spiegel, MD, PhD

                          Email: david.spiegel@yale.edu

                              Office: 203-432-8697
Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 168 of 314 PageID #:
                                     4772




                   EXHIBIT 21
     Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 169 of 314 PageID #:
                                          4773

  From:        Spiegel, David [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=0835116661DB416199961B1ECE52169C-DS256]
  Sent:        12/10/2018 3:47:31 PM
  To:          Bhatt, Sumantha [sumantha.bhatt@yale.edu]
  Subject:     FW: BLAVATNIK SEMIFINALISTS- PowerPoint Only! (No Pdf's)
  Attachments: Moda_Yale Lifesciences Pitchfest_2018-12_2.pptx


  Would you mind submitting this? Please see final slides attached.

  From: "Wiesler, William" <bill.wiesler@yale.edu>
  Date: Sunday, December 9, 2018 at 7:19 PM
  To: "Iwasaki, Akiko" <akiko.iwasaki@yale.edu>, "Miranker, Andrew" <andrew.miranker@yale.edu>, "Xiao,
  Andrew" <andrew.xiao@yale.edu>, "anna.pyle@yale.edu" <anna.pyle@bulldogs.yale.edu>, "Van den Pol,
  Anthony" <anthony.vandenpol@yale.edu>, "Bennett, Anton" <anton.bennett@yale.edu>, "Pedroso Balbo,
  Bruno" <bruno.pedrosobalbo@yale.edu>, "Fedeles, Sorin" <sorin.fedeles@yale.edu>, "Sarnia, Stefan"
  <stefan.somlo@yale.edu>, "Ehrlich, Barbara" <barbara.ehrlich@yale.edu>, "Ben Mamoun, Choukri"
  <choukri.benmamoun@yale.edu>, "Bunick, Christopher" <christopher.bunick@yale.edu>, "Bergwitz,
  Clemens" <clemens.bergwitz@yale.edu>, David Spiegel <david.spiegel@yale.edu>, "Braddock, Demetrios"
  <demetrios.braddock@yale.edu>, "Isaacs, Farren" <farren.isaacs@yale.edu>, "Rinehart, Jesse"
  <jesse.rinehart@yale.edu>, "Eswarakumar, Jacob" <jacob.eswarakumar@yale.edu>, "Bender, Jeffrey"
  <jeffrey.bender@yale.edu>, "Zhou, Jiangbing" <jiangbing.zhou@yale.edu>, "Deacon, John"
  <john.deacon@yale.edu>, "Saltzman, W. Mark" <mark.saltzman@yale.edu>, "Girard', Michael"
  <michael.girardi@yale.edu>, "Vukmirovic, Milica" <milica.vukmirovic@yale.edu>, "Kaminski, Naftali"
  <naftali.kaminski@yale.edu>, "Sestan, Nenad" <nenad.sestan@yale.edu>, "Lee, Patty" <patty.lee@yale.edu>,
  "Turner, Paul" <paul.turner@yale.edu>, "Bonde, Pramod" <pramod.bonde@yale.edu>, "Chen, Sidi"
  <sidi.chen@yale.edu>, "Strittmatter, Stephen" <stephen.strittmatter@yale.edu>, "Kyriakides, Themis"
  <themis.kyriakides@yale.edu>, "Mehal, Wajahat" <wajahat.mehal@yale.edu>, "william.jorgensen@yale.edu"
  <william.jorgensen@bulldogs.yale.edu>, "Ha, Ya" <ya.ha@yale.edu>, "Zhu, Yang" <yong.zhu@yale.edu>
  Cc: "Puziss, John" <john.puziss@yale.edu>, "Lewin, David" <david.lewin@yale.edu>, "Unsworth, Christopher"
  <christopher.unsworth@yale.edu>, "Peng, Hong" <hong.peng@yale.edu>, "Truax, Valarie"
  <valarie.truax@yale.edu>, "Kadiri, Lolahon" <lolahon.kadiri@yale.edu>, "Andersson, Richard"
  <richard.andersson@yale.edu>, "Boyle, James" <james.g.boyle@yale.edu>, "Schrager, Lori"
  <lori.schrager@yale.edu>, "Siegert, Timothy" <timothy.siegert@yale.edu>, ''Rufo, Caroline"
  <caroline.rufo@yale.edu>, "Opstrup, Tim" <timothy.opstrup@yale.edu>, "Vance, Julie"
  <julie.vance@yale.edu>, "Grassie, Morag" <morag.grassie@yale.edu>, "Quaye, Mercy"
  <mercy.quaye@yale.edu>
  Subject: BLAVATNIK SEMIFINALISTS- PowerPoint Only! (No Pdf's)

  Please send only PowerPoint slides. (No pdf).

  That's the only way we can accommodate video AND merge everyone's slides into a master PitchFest deck.

  Thank you!




  Sent from my iPhone

  On Dec 7, 2018, at 4:26 PM, Wiesler, William <bill.wiesler@yale.edu> wrote:




CONFIDENTIAL                                                                                               YALE00004691
         Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 170 of 314 PageID #:
                                              4774
  Dear Blavatnik Semifinalists,

  Our deadline to SUBMIT your ENTIRE BLAVATNIK APPLICATION, most importantly the updated slides for Pitchfest is
  5pm Monday December 10th. There is a lot of work to do to prepare them all for seamless presentation at
  Pitchfest. They will be compiled into a single file, and so we WILL NOT BE ACCOMODATING LAST MINUTE
  CHANGES. DO NOT SHOW UP TO PITCHFEST WITH A THUMBDRIVE ASKING TO CHANGE SLIDES.

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  or two of your key publications, will be made available to interested commercial parties on our Blavatnik Portal. Most
  of you do not require sharing confidential information to make a strong proposal for funding.

  OPTIONAL: If you or your OCR lead believe that disclosure of SUPPLEMENTAL CONFIDENTIAL DATA SLIDES are
  absolutely required to present a comprehensible proposal to the Blavatnik Board, then you will be allowed to
  submit SUPPLEMENTAL SLIDES, not to exceed 5 slides. (Note we will not be having you create a complete "confidential
  deck. Just extra slides if necessary). That data should be presented in a way that is COMPLETELY SELF-EXPALNATORY
  since your video will not include your explanations. Those slides (denoted with the addition of "SUP CONF" to the title)
  will also be due at 5pm on Monday December 10th,. This confidential information will be made available to commercial
  parties that are under CDA, unless you let us know a reason to proceed otherwise. Companies like AbbVie have signed
  CDAs and are actively hunting for Yale partnering opportunities.

  Use this Qualtrics Link to submit your required slide deck and any of the three optional elements (Supplemental
  Confidential Slides and 2 Publications).
  https://yalesurvey.cal.qualtrics.comilfeipreview/SV 8iJColsve5qFGdL?Q SurveyVersionlD=current&Q. CHL=preview

  IF YOU HAVE TWO APPLICATIONS, YOU NEED TO DO ALL OF THIS TWICE.

  Remember, all slide decks need slides on PATENTS, COMPETITION, and ROUGH BREAKDOWN ON USE OF FUNDS
  (guesstimate costs of the 2-4 activities that add up to $300K).

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  fun. They are: Highest Potential Impact $1000, Most Innovative Breakthrough $1000, Best Presentation $1000, and
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  after 5 minutes. There will be exactly 2 minutes for questions, taking questions from one of our industry judges. We
  have judges from the very top pharmaceutical companies and biotech venture firms, including Merck, Pfizer, J&J, Polaris
  Ventures, RA Capital, Accelerator Corp., and Arch Ventures.

  Let us know of any questions or concerns you may have at any point between now and Monday's deadline.

  Best,

  Bill



  Bill Wiesler, Ph.D.
  Director of New Ventures
  Director of the Blavatnik Fund for Innovation at Yale
  Office of Cooperative Research
  YALE UNIVERSITY




CONFIDENTIAL                                                                                                  YALE00004692
      Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 171 of 314 PageID #:
                                           4775
  433 -Femple Street; First Floor
  New Haven„ CT 06511
  Tel 2034X32,5406
  Mobile 203,314,4409




CONFIDENTIAL                                                                     YALE00004693
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                     Document Produced in Native Format




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          MODA Pharmaceuticals
      Targeted Elimination of Pathogenic Extracellular Proteins


                           David A. Spiegel, MD, PhD


                 Yale Lifesciences Pitchfest / December 12, 2018
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                                            Challenges with Conventional Inhibitors

                       100%
                                                                                                                           Target
    Target Occupancy




                              Therapeutic
                              Level

                       50%                                                                                     Inhibitor




                                      Log Dose




                        Occupancy of                                   Toxicity due to                            Only a specific
                        target is required                             requirement of                             activity of target
                        for drug activity,                             large systemic drug                        is controlled and
                        which mandates                                 concentrations to                          may not result in
                        sustained exposure                             ensure sufficient                          loss of function of
                        to drug substance                              functional inhibition                      other activities



2                                                                                                                                   MODA Pharmaceuticals
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                                                  Our Approach: The MODA Platform
                                                  •   MODA Pharmaceuticals is built around a novel technology platform that
    Target Protein            MODA                    enables development of customizable small molecules for targeted
                                                      elimination of extracellular proteins

                                                  •   MODA small molecules are designed to bind to extracellular target
                                                      proteins and cause them to be removed from the body

                                                  •   Existing targeted small molecule strategies (e.g. Kymera, Arvinas, C4)
                                                      focus on eliminating intracellular not extracellular proteins




                                                  KEY FEATURES:

                                                  •   Extracellular protein targets are eliminated as opposed to inhibited
                                                  •   MODA therapeutics can be small molecule- or antibody-based
                                                  •   Small molecule-based design opens up avenues for oral administration
                                                  •   Potential to reduce drug exposure and off-target effects


3                                                                                                               MODA Pharmaceuticals
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     Competitive Landscape for Immunoglobulin-Targeting Technologies
                               Company         Technology Platform   Technology                                 Mode of Action
                                               Enzyme                Immunoglobulin G-degrading enzyme          Cleaves human IgG at the hinge region producing
                                                                     of Streptococcus pyogenes (IdeS)           F(ab’)2 and Fc fragments, cleaved IgG is unable to
                                                                                                                activate complement and promote other pathogenic
                                                                                                                processes
                                               Antibody              Efgartigimod- Human IgG1 Fc-fragment       Targets and binds to FcRn, blocking the recycling of
                                                                     designed using ABDEG™ technology           IgG and leading to the elimination of IgGs
         Therapeutics




                                               Antibody              SYNT001- Humanized monoclonal              Targets and binds to FcRn, blocking the recycling of
                                                                     antibody engineered to have high           IgG and leading to the elimination of IgGs
                                                                     affinity for FcRn
                                               Antibody              M281- Fully Human Fab aglycosylated        Targets and binds to FcRn, blocking the recycling of
                                                                     IgG1 monoclonal antibody                   IgG and leading to the elimination of IgGs


                                               Antibody              Rozanolixizumab- a humanized high-         Targets and binds to FcRn, blocking the recycling of
                                                                     affinity anti-human neonatal Fc receptor   IgG and leading to the elimination of IgGs
                                                                     (FcRn) monoclonal antibody (IgG4P)
         Plasmapheresis/IVIG




         THE MODA
        ADVANTAGE

10                                                                                                                                                             MODA Pharmaceuticals
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          MODA Pharmaceuticals

                           David A. Spiegel, MD, PhD

                          Email: david.spiegel@yale.edu

                              Office: 203-432-8697
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                   EXHIBIT 22
     Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 186 of 314 PageID #:
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  From:         Wiesler, William [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=FA3C3C1BE2AC4BBB903185EEF1F8503B-WW84]
  Sent:         1/14/2019 11:33:08 AM
  To:           Lewin, David [david.lewin@yale.edu]
  CC:           Puziss, John [john.puziss@yale.edu]; Milind Deshpande [mdeshpande@racap.com]; Kate Moreau
                [kmoreau@racap.com]
  Subject:      Re: Meetings with Peter Kolchinsky


  Hi Millind,
  Just seeing this. Sadly I'm out of town that day also.
  I'm going to send you and Kate access to our Blavatnik portal. It will have videos and decks of everything at Pitchfest,
  plus another 32 projects that weren't at Pitchfest.
  Best,
  Bill

  Sent from my iPhone

  On Jan 14, 2019, at 11:06 AM, Lewin, David <david.lewin@yale.edu> wrote:

  Hi Milind,
  I am generally available to meet on February 12th and I am working with
  •       Alanna Schepartz — Exolva cytosolic delivery platform
  •       Nenad Sestan — Organ preservation/maintenance/reviving
  •       David Spiegel — MODA protein degradation platform
  •       Bill Jorgensen — Small molecule antagonists of MIF
  Please let me know what you have in mind for that day so I can tell them what to expect from a meeting.
  Best,
  Dave



  David A. Lewin, PhD
  Sr. Associate Director Business Development
  Yale University Office of Cooperative Research
  P: 1-203-785-6038
  F: 1-203-785-6165
  E: davidiewin@yale.edu

  Yale Partnering Opportunities

  Save the date for the Yale Innovation Summit, May 8, 2019


  From: Puziss, John
  Sent: Friday, January 11, 2019 2:49 PM
  To: Milind Deshpande <mdeshpande@racap.com>
  Cc: Kate Moreau <kmoreau@racap.com>; Lewin, David <david.lewin@yale.edu>; Wiesler, William
  <bill.wiesler@yale_edu>
  Subject: Re: Meetings with Peter Kolchinsky

  I'd suggest coordinating with Bill Wiesler or Dave Lewin, since he works with all of those Pl's except Aaron Ring.

  Best,




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  John



  John W. Puziss, Ph.D.
  Director of Business Development
  Office of Cooperative Research
  Yale University
  2 Church St. South, Suite 203
  New Haven, CT 06519

  Google Maps: https://goo.gl/maps/nhC98ybpC90

  (203) 785-6167
  (203) 785-6165 (Fax)
  john.puziss yale.edu
  www.yale.edu/ocr




  On Jan 11, 2019, at 2:43 PM, Milind Deshpande <mdeshpande@racap.com> wrote:

  John,
  It's unfortunate that you and Jon have a conflict. Since Peter's presentation date at Yale Law School
  is set for Feb 12, we would still like to set up meeting with Yale PIs, and look for another date for a
  meeting with you and Jon. Is there some one else we can work with to coordinate these meetings
  (Bill or Chris?).
  Thanks,
  Milind

  On Fri, Jan 11, 2019 at 9:24 AM Puziss, John <john.puziss(4ale.edu> wrote:
   Hi Milind,

   It turns out that both Jon and I are away at a conference on the 12th. Should we look to reschedule
   for another date?

   Best,
   John


   John W. Puziss, Ph.D.
   Director of Business Development
   Office of Cooperative Research
   Yale University
   2 Church St. South, Suite 203




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   New Haven, CT 06519

   Google Maps: https://goo.gl/maps/nhC98ybpC90

   (203) 785-6167
   (203) 785-6165 (Fax)
   john.puziss©yale.edu
   www.yale.edu/ocr




   On Jan 3, 2019, at 9:31 AM, Milind Deshpande <mdeshpandegracap.com> wrote:

   Hi John,
   Happy new year! Hope that you had restful holidays, and wish you a peaceful and a very
   successful 2019.
   I am reaching out to ask for help in coordinating meetings between Yale faculty and Peter
   Kolchinsky (Managing Director at RA) for February 12. Peter is giving a talk at Yale Law School
   at 4 PM, and it will be great if he can meet with some of the PIs earlier in the day. Our initial list
   for 1-on-1 meetings is: Alanna Schepartz, Nenad Sestan, Aaron Ring, David Spiegel, Bill
   Jorgensen (let us know if you have other suggestions). A meeting with you and Jon S will also be
   very beneficial to establish a relationship between RA and Yale OCR.
   Are you available for a quick call tomorrow (any time except 2-3) to discuss Peter's visit?
   best regards,
   Milind


   Wind Deshpande, Ph.D.
    imittre l'arincr
   W: 617-778-2572             M: 203-314-5810   E: nNiesbpande(bracv corn




   RA Capital Management, LLC
   20 Park Pla2a, Suite i200 j Boston MA 02116
   W$5147.113Cap.e011)




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  Wind Deshpande, Ph.D.
  'Ventura Nosier
  W: 617-778-2572                 M: 203-314-5810 I E: nidgibparldigionp.com


   MS.



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  set forth       Cl        any be an estii-nate andfor unaudited ar:0 subject to chaNe. al'orrnation      respeot to individuai investorsi -17ayvary. Past pen'orrrianne is, not

  necessafty reflective of futum resuits. Any views or opHions presontod Herein aro soleiy thoso of the author as of the dote hereof, am subject to chango. and -do not
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                   EXHIBIT 23
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           Moda follow u
           From:                 "Spiegel, David" <david.spiegel©yale.edu>
           To:                   Vlad Coric <vlad.coric@biohavenpharma.com>
           Cc:                   Donnie McGrath <donnie.mcgrath@biohavenpharma.com>
           Date:                 Mon, 25 Mar 2019 17:24:43 -0400
           Attachments:          Moda_Non-Confidential Deck_2019-3.pptx (1.53 MB)


           Hi Vlad and Donnie, I hope all is well with you both.




           Please let me know if there is any additional information that I can provide, or if there are any
           questions, and I look forward to following up!

           Best,
           David



           David A. Spiegel, Ph.D., M.D.
           Yale University
           Professor of Chemistry and Pharmacology
           Website: http://www.spiegelgroup.yale.edu/

           U.S. Mailing Address:
           225 Prospect Street
           P.O. Box 208107
           New Haven, CT 06520-8107

           Shipping (Fedex, UPS) Address:
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           Office: 203-432-8697
           Cell: 646-246-2159
           Fax: 203-432-6144

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   MODA Pharmaceuticals
Targeted Elimination of Pathogenic Extracellular Proteins


                        David A. Spiegel, MD, PhD
                                                 Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 194 of 314 PageID #:
                                            Challenges                                4798
                                                                                                             al Inhibitors

                       100%
                                                                                                                                           Target
    Target Occupancy




                              Therapeutic
                              Level

                       50%                                                                                                     Inhibitor




                                      Log Dose




                        Occupancy of                                          Toxicity due to                                     Only a specific
                        target is required                                    requirement of                                      activity of target
                        for drug activity,                                    large systemic drug                                 is controlled and
                        which mandates                                        concentrations to                                   may not result in
                        sustained exposure                                    ensure sufficient                                   loss of function of
                        to drug substance                                     functional inhibition                               other activities



2                                                                                                                                                   MODA Pharmaceuticals
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                                               Our Approach: The MODA Platform
                                               •    MODA Pharmaceuticals is built around a novel technology platform that
    Target Protein     MODA                         enables development of customizable small molecules for targeted
                                                    elimination of extracellular proteins

                                               •    MODA small molecules are designed to bind to extracellular target
                                                    proteins and cause them to be removed from the body

                                               •    Existing targeted small molecule strategies (e.g. Kymera, Arvinas, C4)
                                                    focus on eliminating intracellular not extracellular proteins




                                               KEY FEATURES:

                                               •   Extracellular protein targets are eliminated as opposed to inhibited
                                               •   MODA therapeutics can be small molecule- or antibody-based
                                               •   Small molecule-based design opens up avenues for oral administration
                                               •   Potential to reduce drug exposure and off-target effects


3                                                                                                             MODA Pharmaceuticals
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     Competitive Landscape for Immunoglobulin-Targeting Technologies
                               Company          Technology Platform       Technology                                 Mode of Action
                                                Enzyme                    Immunoglobulin G-degrading enzyme          Cleaves human IgG at the hinge region producing
                                                                          of Streptococcus pyogenes (IdeS)           F(ab’)2 and Fc fragments, cleaved IgG is unable to
                                                                                                                     activate complement and promote other pathogenic
                                                                                                                     processes
                                                Antibody                  Efgartigimod- Human IgG1 Fc-fragment       Targets and binds to FcRn, blocking the recycling of
                                                                          designed using ABDEG™ technology           IgG and leading to the elimination of IgGs
         Therapeutics




                                                Antibody                  SYNT001- Humanized monoclonal              Targets and binds to FcRn, blocking the recycling of
                                                                          antibody engineered to have high           IgG and leading to the elimination of IgGs
                                                                          affinity for FcRn
                                                Antibody                  M281- Fully Human Fab aglycosylated        Targets and binds to FcRn, blocking the recycling of
                                                                          IgG1 monoclonal antibody                   IgG and leading to the elimination of IgGs


                                                Antibody                  Rozanolixizumab- a humanized high-         Targets and binds to FcRn, blocking the recycling of
                                                                          affinity anti-human neonatal Fc receptor   IgG and leading to the elimination of IgGs
                                                                          (FcRn) monoclonal antibody (IgG4P)
         Plasmapheresis/IVIG




         THE MODA
        ADVANTAGE

10                                                                                                                                                                  MODA Pharmaceuticals
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•   Our technology focuses on elimination of extracellular protein targets instead of
    inhibition

•   Platform can be applied to multiple disease-relevant targets and treat diverse
    patient populations

•   We have achieved in vivo proof-of-concept for two targets and cellular proof-of-
    concept for one additional target.

•   Two provisional patent applications have been filed and two more are in
    preparation



                                                                                                       MODA Pharmaceuticals
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   MODA Pharmaceuticals

                        David A. Spiegel, MD, PhD

                       Email: david.spiegel@yale.edu

                            Office: 203-432-8697
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                   EXHIBIT 24
     Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 208 of 314 PageID #:
 From:              Ben Dake <
                                          4812
 Sent:                  5/13/2019 12:40:32 PM
 Subject:               Re: MODA Chemistry assessment




What about the Craig Crews paper?




Craig was on my thesis committee
intro'd me to Stuart Scrheiber for my post-doc
he has been a great positive force for me

David wants to close before the end of the month
David is available feel free call his cell any time

                           Exhibit 9 ISO Defendants' Opening Discovery Letter Brief
HIGHLY CONFIDENTIAL — SUBJECT TO THE PROTECTIVE ORDER (D.I. 65)                       DEFS00033754
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                   EXHIBIT 25
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AbbVie–Spiegel Lab–MODA
      Collaboration
       Targeted Elimination of Pathogenic Extracellular Proteins

                          David A. Spiegel, MD, PhD
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SPIEGEL
RESEARCH GROUP




                                                                                                2
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LAB OVERVIEW
The central focus of the Spiegel Research Group is the development of novel, small molecule-based strategies for manipulating and regulating
human immunity and biological processes. The strategies we develop allow us to study the molecular mechanisms that underlie human
diseases and design novel therapeutic approaches to address a number of pathologic conditions. Studies performed in the Spiegel Laboratory
have significantly contributed to both fundamental and applied areas of research.


         CHEMICAL BIOLOGY                                         CELLULAR BIOLOGY                                       IN VIVO STUDIES

 TECHNIQUES:                                             TECHNIQUES:                                         TECHNIQUES:

 Organic Synthesis                                       Mammalian and bacterial tissue culture              Murine models of cancer, autoimmunity and
 Protein binding studies (SPR, FP, MST,                  Microscopy                                          infection
 ELISA, etc.)                                            Flow cytometry                                      Xenograft studies
 Equilibrium modeling                                    Virus production                                    Tissue processing and analysis


 PERSONNEL:                                              PERSONNEL:                                          PERSONNEL:
 David Caianiello (lead)                                 Jesse Collins (lead)                                David McDonald (lead)
 Robert Hale                                             Theo Koelsch                                        Vish Muthusamy
 Emily Branham                                           Jason Ray                                           Rebecca Howell
 Jake Swartzel
 Eddie deRamon



                                                                                                                                                3
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       CHEMICAL BIOLOGY TEAM



 DAVID CAIANIELLO
                                                                ROBERT HALE                                                  EMILY BRANHAM
 CHEMICAL BIOLOGY LEAD

Dave is a native of Rhode Island. He                           Robert was born in New York City                          Emily was born and raised in
became interested in the biological                            and grew up in Astoria, NY, and Little                    Georgia. She earned a chemistry BS,
applications of chemistry as an                                Silver, NJ. Robert did his                                a biology minor, and a creative writing
undergraduate at Brown University,                             undergraduate
                                                                  .           training in engineering                    minor from UNC Chapel Hill. As an
where he used an under-appreciated                             and chemistry at the Stevens Institute                    undergraduate, she discovered her
method for measuring light                                     of Technology. He performed mass                          love for chemistry research during her
absorption to determine how dyes                               spectrometric studies of oxalate and                      first summer research program, a
stack in water. In the Spiegel Lab he                          carbonate salts for his undergraduate                     chemistry REU at Georgia Tech. In
is working on the development of                               research before earning a B. S. in                        the Spiegel lab, she is working on the
new bifunctional molecules.                                    chemistry in May 2015. In the                             synthesis and analysis of bifunctional
                                                               Spiegel Lab, Robert is working to                         molecules with possible therapeutic
                                                               extend the methodology developed                          applications.
                                                               for glucosepane to access other
                                                               natural products.

                                                                                                                                                      4
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        CHEMICAL BIOLOGY TEAM (continued)


                                                                                                  .

 JAKE SWARTZEL                                            EDDIE deRAMON


Jake grew up outside Boston, and                         Eddie grew up in New York where he
moved to pursue a B.S. in                                attended SUNY New Paltz, majoring
Biochemistry at The University of                        in Chemistry. There, his research
Texas at Austin. While an                                was primarily focused in organic
undergraduate, his advanced                              chemistry, while a summer research
coursework focused on organic                            program at Johns Hopkins University
chemistry and synthetic biology. He                      opened him up to chemical biology.
conducted research in the laboratory                     He began his PhD in Chemical
of Dr. Walter Fast toward the                            Biology at Yale in 2018, where his
development of novel covalent                            combined interest in these research
enzyme inhibitors. In the Spiegel lab,                   areas led him to join the Spiegel lab.
he works on designing novel                              Here, his work is primarily focused
bifunctional molecules.                                  on the development of
                                                         therapeutically relevant bifunctional
                                                         molecules.
                                                                                                                                     5
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              CELLULAR BIOLOGY TEAM


                                                                                                     .

 JESSE COLLINS
                                                                THEO KOELSCH                                                 JASON RAY
 CELLULAR IMMUNOLOGY LEAD

Jesse grew up in Northern California,                          Theo grew up in Colorado and                              Jason grew up in North Carolina, and
and pursued a B.A. in Molecular                                attended CU Boulder, majoring in                          decided at age ten to become a
Biology at U.C. Berkeley. During his                           Chemistry, Biochemistry, and Music.                       scientist. He studied chemistry at
time there, Jesse worked in a lab                              At CU, he worked in the lab of Dr.                        Brigham Young University, where his
studying dengue virus and took                                 Zhongping Tan, using insights into the                    coursework focused on organic
classes focused on immunology and                              effects of specific glycosylation to                      chemistry and biochemistry. He did
bioengineering. Jess then went on to                           develop a bivalent HIV entry inhibitor                    research with Dr. Jeffery Tessem on
join the Spiegel lab to work at the                            from a small molecule and a                               genetic pathways that could be
interface of synthetic chemistry and                           glycosylated peptide. In the Spiegel                      targeted to reverse type 1 and type 2
molecular biology. He is now working                           Lab, he is investigating the function of                  diabetes. His research in the Spiegel
on engineering immune-modulating                               advanced glycation end products,                          lab focuses on novel uses of
proteins controlled by bifunctional                            which may have therapeutic                                bifunctional molecules.
small molecules.                                               implications for multiple diseases.


                                                                                                                                                      6
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               IN VIVO TEAM



 DAVID MCDONALD, PHD
                                                                VISH MUTHUSAMY, PHD                                  REBECCA HOWELL
 IN VIVO STUDIES LEAD

Born and raised in Sydney, Australia,                       Vish earned his PhD from Madurai Kamaraj                Rebecca grew up in Connecticut and
David studied chemistry, immunology and                     University. He went on to train at the                  attended Bucknell University where
biochemistry at the University of Sydney.                   University of Vermont and then took on the              she majored in Cell Biology/
He went on to study the deleterious                         role of Associate Research Scientist at the             Biochemistry. After graduation, she
activation of naïve CD8+ T lymphocytes in                   Yale School of Medicine. Vish later joined              completed a one-year appointment in
the liver at the Centenary Institute under                  the Spiegel lab as a Research Scientist.                the Center for Virology and Vaccine
the tutelage of Dr Patrick Bertolino. David                 During his time with the group, Vish led pre-           Research at Beth Israel Deaconess
returned to the University of Sydney for                    clinical studies to validate antibody                   Medical Center in Dr. Joern Schmitz’s
his PhD studies, under the supervision of                   mimicking small molecule immune                         laboratory. She then joined the
Professor Richard Payne and Associate                       therapeutics directed against cancer and                Immunology team at Moderna
Professor Scott Byrne. In the Spiegel lab,                  pathogenic organisms. He currently serves               Therapeutics and worked under the
David is working towards novel methods                      as the Executive Director at the Center for             guidance of Dr. Gilles Besin for three
to rapidly identify small molecules that                    Precision Cancer Modeling at Yale                       years. In the Spiegel lab her work
target specific proteins and cells..                        University.                                             focuses on the interface between
                                                                                                                    chemistry and immunology.
                                                                                                                                                       7
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                Technology Update




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Follow up on AbbVie Technical Questions




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Design and S                           4828
                                                             GPR ligands

                         •     High throughput in silico docking experiments
                               performed in collaboration with Dr. Matthew Welsch
                         •     96 commercially-available, non-glycomimetic,
                               druglike compounds identified for screening:
                         •     Soluble ASGPR available for SPR, microscale
                               thermopheresis
                         •     Immobilized ASGPR adopts trimeric conformation
                               and can be screened using DELs or flexizyme
                               technology (PeptiDream collaboration)
                         •     Studies would constitute the first non-glycomimetic
                               ligand identification exercise for ASGPR

                              JACS, 2017 Feb 23;139(9):3528-36


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AbbVie Scope of Research Support




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                                                     4830
       AbbVie-Yale int                                                    l Paths to Value

  SubQ Product                            Oral Product                                 Platform Advancement
 Quick to the clinic                    Maximizing impact                               Capturing the space

Collaboration will be central to success….


                                                Target selection
                          Ligand discovery
                                                                                  Basic and mechanistic science
     Medicinal chemistry
                                                          Construct validation
            In vitro and in vivo Pharmacology
                                                                                   Platform Advancement

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             Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 227 of 314 PageID #:
                Overvie                           4831
                                                                      Activities
• Mechanism – fundamental studies of how extracellular protein
  degradation works and can be optimized
• Alternative degradation pathways – other non-ASGPR
  approaches (advancing the platform)
• Alternative targeting modalities – antibodies, antigen mimics,
  etc.
• Immune response to degradation – what impact does
  degradation have on immune response and how we can exploit
• Trifunctional molecules
  • Combination intra-, extra-cellular degraders
  • Degrading proteins in the brain
                                            Yale Confidential                                     MODA Pharmaceuticals
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                              M                   4832
                                                                       es
• Are there auxiliary pathways to ASGPR by which proteins are
  degraded physiologically?
  • ASGPR knockouts remain able to degrade circulating
    proteins, how is this happening?
• How does first-pass ASGPR binding impact efficacy following
  oral administration?
• How can recycling/catalysis of ligands be manipulated? Are
  kinetic or thermodynamic parameters more important?
• How does valency versus affinity impact targeted protein
  degradation? What is the influence of ASGPR multimerization on
  internalization and recycling?
                                            Yale Confidential                                     MODA Pharmaceuticals
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Alternative Endocytic Recep                                                               4833
                                                                                                                                         es of Bifunctional Molecules

                   LRP-1                                               LDL-R                                   Mannose Receptor                                          Mannose-6P Receptor

Main Functions: Receptor                                 Main Functions: Mediates                          Main Function: Receptor                                       Main Function: Targeting
mediated endocytosis, cell                               endocytosis of cholesterol-                       mediated endocytosis                                          lysosomal enzymes to the
motility, cell signaling                                 rich LDL                                                                                                        lysosome by cycling between
                                                                                                           Ligands:                                                      trans-golgi and lysosome.
Ligands:                                                 Ligands:                                          - Sulfated carbohydrates,                                     Also modulates activity of
- Several 10-100 nM                                      - 10-20 nM peptides                               collagen, mannose and                                         various extracellular M6P-
   binding peptides reported                             reported, 2-5 hour half-lives                     mannose polymers                                              glycoproteins
                                                         in mouse blood.
Unique Applications:                                                                                       Unique Applications:                                          Ligands: Sulfated
- Crosses the BBB, so                                    Unique Applications:                              - Mannose-receptor targeting                                  carbohydrates, M6P analogs
  targeting to LRP-1 could                               - LDLR targeting has been                         vaccines have been
  be useful as a blood-brain                             shown to allow delivery of                        developed due the high level                                  Unique Applications:
  shuttle                                                small molecules and proteins                      of MR expression on APCs                                      - Bifunctional molecules for
                                                                                                                                                                           targeting lysosomal
                                                                                                                                                                           storage disorders
  Biochemistry and biophysics reports, 12, 135-139                PloS one, 13(2), e0191052.               Expert opinion on biological therapy 4.12 (2004): 1953-1962       - Glucocerebrosidase

                                                                                               Yale Confidential                                                                       MODA Pharmaceuticals
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                                                                  4834
  Immunological Consequ                                                                      ed Protein Degradation
      Goal: Understand and control impact of targeted extracellular protein degradation on tolerance and immunity

                             ASGPR                                                                         FcγRI, DC-SIGN,
                                                           Target Protein                                  Mannose Receptor




                          Tolerance                           .                                     Immunity        .




  •    Can targeted degradation through ASGPR prevent or                          •   Can bifunctional molecules targeting immunogenic
       reverse immune responses to protein targets?                                   degradative receptors induce immune responses to
  •    What is the mechanism through which tolerization takes                         target proteins?
       place in hepatocytes?                                                      •   Can we break tolerance to self proteins?
  Applications:                                                                   Applications:
  • Prevention/reversal of immunological reactions towards                        • Concomitant degradation and immune stimulation
    therapeutic proteins, antibodies                                                towards cancer antigens, pathogen toxins, etc.
  • Tolerization of the target antigens in allergy, autoimmunity


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                                Antib                      4835
                                                                                                                 DAs
Can antibodies and/or other modalities be used to target proteins to hepatocytes
for ASGPR mediated degradation?
 • Our technology functions extracellularly                                            anti-PCSK9 antibody modified with indicated number of
                                                                                       galactose equivalents…
   so small molecule is not necessary
 • Targets that degrade more slowly than                                                 100    228,333         238,765         405,000           1,400,000      1,400,000
   antibodies should be viable
                                                                                          50    103,423          117,300        178,227           741,000        1,200,000
 • PCSK9 as target




                                                        Antibody Concentration (nM)
     • Conditions: high cholesterol, heart                                                25    65,892           71,468         102,587           461,000
                                                                                                                                                                 1,000,000
       disease, heart attack, stroke
                                                                                         12.5   55,333           58,097          72,050           303,416
                                                                                                                                                                 800,000
• Found that antibody uptake increases
                                                                                         6.25   47,036           48,787          59,530           198,077
  with increasing galactose conjugation
                                                                                                                                                     Emily       600,000
  number                                                                                3.125   48,197           46,467          50,194           135,768
                                                                                                                                                                 400,000
• Next steps:
                                                                                       1.5625   47,228           47,420          49,185            96,524
     • PCSK9 uptake trends with anti-                                                                                                                            200,000
       PCSK9 uptake in this system                                                    0.78125   51,016           50,399          45,718            77,830
                                                                                                                                                                 0
     • Can other modalities (aptamers,                                                             0                1              5                 15
       nanoparticles) also prove useful?                                                                  Equivalents of Galactose per Antibody


                                                     Yale Confidential                                                                                        MODA Pharmaceuticals
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Antigen-sp                            4836
                                                               egradation
                                              •     RA, CM and SLE all represent unmet
                                                    medical challenges
                                              •     Low molecular weight mimics for
                                                    autoantigens exist for all three
                                                    autoantibodies, even despite their
                                                    polyclonality
                                              •     The therapy would be highly specific
                                                    and will prevent immunosuppression
                                                    caused by alternative treatments
                                                    (plasmapheresis, FcRn inhibitors)
                                              •     Degradation will enhance efficacy
                                                    versus inhibition alone
                                              VanPatten S et al. Journal of Medicinal Chemistry, 2016; 59(19):8859-67.
                                              Patel PA, Hernandez AF. European journal of heart failure. 2013; 15(7):724-9.
                                              Holoshitz J. Current opinion in rheumatology. 2010; 22(3):293.


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                 Targeting Usin                                                          mall Molecules
Intra-/Extracellular Degraders:                                                                                                       Binds protein
                                                                 Binds                                                                   target
• Hypothesis: Targeting both E3 ligase and                    degradation
  ASGPR systems will enable removal or                         receptor 1
  proteins with intra- and extracellular                                                                            degradation receptor 2
  localization                                                                                                       or transcytosis ligand
• Applications: Alzheimer’s Disease (tau),
  fibrosis (LOXL2), Parkinson’s (synuclein)                       Transcytosis       Example(s)                             Ligands
                                                                  ligands
                                                                  BBB-               LDL receptor-related protein 1         Several peptide or
Degrading proteins in CNS:                                        Receptors          Transferrin receptor                   antibody options
                                                                                     CD98hc
• Hypothesis: Targeting transcytotic receptors                    BBB-               Peptidyl-Targeting Vectors,            DEN2C PepH3
  will facilitate entry and exit of proteins across               Viral peptides     “Peptide Shuttle”                      RVG29
  the blood brain barrier, degradation will occur                 BBB-               Glut1 glucose transporter              Modified Cholesterol
  in liver                                                        Transporters       GSH glutathione transporter            GSH

• Applications: Alzheimer’s Disease (tau, a-
                                                                      Nabi, et al. Brain Research Bulletin. 2018. 142, 384.
  beta)                                                               Ruan, H, et al. Journal of Controlled Release. 2018. 279, 306.
                                                                      Sakamoto, K, et al. Biochemistry and Biophysics Reports. 2017, 12, 135.
                                                                      Zuchero, et al. Neuron. 2016. 89, 70

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BUDGET
                                     SALARY          # OF MONTHS              YEAR 1     YEAR 2    YEAR 3     YEAR 4    YEAR 5      TOTAL


SALARIES

Spiegel, David, PI                   $204,970        1 (Summer)               22,774     23,458    24,161     24,886    25,633      120,912

Postdoctoral Associate, YR1+,        $50,760         12 (Calendar)            50,760     52,283    53,851     55,467    57,131      269,492
TBN
Postdoctoral Associate, YR1, TBN     $50,004         12 (Calendar)            50,004     51,504    53,049     54,641    56,280      265,478

Graduate Student (6), TBN            $35,250         12 (Calendar)            32,250     36,308    37,397     38,519    39,674      187,148

SALARIES SUB-TOTAL                                                            335,038    345,093   355,443    366,108   377,088     1,778,770

FRINGE BENEFITS (27.50%)
G&C EXEMPT
Spiegel, David, PI                                                            6,263      6,451     6,644      6,844     7,049       33,251

Postdoctoral Associate, YR1+,                                                 13,959     14,378    14,809     15,253    15,711      74,110
TBN
Postdoctoral Associate, YR1, TBN                                              13,751     14,164    14,588     15,026    15,477      73,006

TOTAL PERSONNEL                                                               369,011    380,086   391,484    403,231   415,325     1,959,137



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                                                                                                                                  MODA Pharmaceuticals
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BUDGET
                                            YEAR 1          YEAR 2           YEAR 3         YEAR 4         YEAR 5   TOTAL



 TRAVEL

 Domestic                                   7,000           7,000            7,000          7,000          7,000    35,000


 Foreign                                    10,000          10,000           10,000         10,000         10,000   50,000



 TOTAL TRAVEL                               17,000          17,000           17,000         17,000         17,000   85,000

 MATERIALS AND SUPPLIES

 Lab Supplies                               70,000          70,000           70,000         70,000         70,000   350,000


 Nitrogen gas, liquid N2, dry ice           1,500           1,500            1,500          1,500          1,500    7,500


 TOTAL SUPPLIES                             71,500          71,500           71,500         71,500         71,500   357,500




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                                                                                                                             MODA Pharmaceuticals
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BUDGET
                                   YEAR 1           YEAR 2               YEAR 3        YEAR 4          YEAR 5      TOTAL


 OTHER DIRECT COSTS

 In vivo Work                      245,589          228,668              211,161       193,031         174,266     1,052,715

 Equipment/Services                150,000          150,000              150,000       150,000         150,000     750,000


 Waste Disposal                    1,500            1,500                1,500         1,500           1,500       7,500

 Instrument Center Costs           15,000           15,000               15,000        15,000          15,000      75,000


 Shipping                          500              500                  500           500             500         2,500

 Tuition                           129,900          135,746              141,855       148,238         154,909     710,648

 TOTAL OTHER DIRECT COSTS          542,489          531,414              520,016       508,269         496,175     2,598,363

 TOTAL DIRECT COSTS                1,000,000        1,000,000            1,000,000     1,000,000       1,000,000   5,000,000

 INDIRECT COSTS @ 69.90%           699,000          699,000              699,000       699,000         699,000     3,495,000

 TOTAL COSTS                       1,699,000        1,699,000            1,699,000     1,699,000       1,699,000   8,495,000



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                Thanks for visiting!!




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AbbVie–Spiegel Lab–MODA
      Collaboration
                          David A. Spiegel, MD, PhD



    Atlas
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      Competitive Landscape for Immunoglobulin-Targeting Technologies
                       Company          Technology Platform       Technology                                 Mode of Action
                                        Enzyme                    Immunoglobulin G-degrading enzyme          Cleaves human IgG at the hinge region producing
                                                                  of Streptococcus pyogenes (IdeS)           F(ab’)2 and Fc fragments, cleaved IgG is unable to
                                                                                                             activate complement and promote other pathogenic
                                                                                                             processes
                                        Antibody                  Efgartigimod- Human IgG1 Fc-fragment       Targets and binds to FcRn, blocking the recycling of
                                                                  designed using ABDEG™ technology           IgG and leading to the elimination of IgGs
 Therapeutics




                                        Antibody                  SYNT001- Humanized monoclonal              Targets and binds to FcRn, blocking the recycling of
                                                                  antibody engineered to have high           IgG and leading to the elimination of IgGs
                                                                  affinity for FcRn
                                        Antibody                  M281- Fully Human Fab aglycosylated        Targets and binds to FcRn, blocking the recycling of
                                                                  IgG1 monoclonal antibody                   IgG and leading to the elimination of IgGs


                                        Antibody                  Rozanolixizumab- a humanized high-         Targets and binds to FcRn, blocking the recycling of
                                                                  affinity anti-human neonatal Fc receptor   IgG and leading to the elimination of IgGs
                                                                  (FcRn) monoclonal antibody (IgG4P)
 Plasmapheresis/IVIG




 THE MODA
ADVANTAGE
                                                                                                                                                                    43
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Asialoglycoprotein Receptor (ASGPR) Molecular
                  Recognition


                                                                                   N-Acetylglucosamine
                   neuraminidase/sialidase
                                                                                   Mannose


                                                                                   Galactose


                                                                                   Sialic Acid



 • Receptor is a trimer
 • Weak binding to
   monomeric Gal and
                                       ASialoGlycoProtein Receptor
   GalNAc (40 mM)
 • Stronger binding to
   trimeric sugars (1 nM)

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                   EXHIBIT 26
    Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 268 of 314 PageID #:
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Anaba, Ariel

From:                            Evie Spanos <ESpanos@susmangodfrey.com>
Sent:                            Thursday, February 1, 2024 12:41 PM
To:                              WSGR - BiohavenvAvilar; KLG-Biohaven@klgates.com
Cc:                              Yale-SG-Farnan@simplelists.susmangodfrey.com
Subject:                         Yale/Biohaven v. RA Capital/Avilar: Yale's Production of Documents Pursuant to the
                                 Court's Order (D.I. 96)



EXT - espanos@susmangodfrey.com


Counsel,

The Court ordered Yale to “produce documents from Dr. Spiegel and members of his laboratory communica ng with Dr.
Crews and/or his laboratory about the alleged trade secrets and/or the ENDTAC technology.” A er a reasonable and
propor onal search to date, Yale iden ﬁed one communica on from a member of Dr. Spiegel’s lab communica ng with
an individual working in the Crews Lab that related to the alleged trade secrets and/or the ENDTAC technology. Yale
produces it as YALE00009845 – YALE00009902 at this previously shared link:

h ps://susmangodfrey.shareﬁle.com/f/fo8449b5-37d3-4c75-b94d-00f240a81836.

Sincerely,
Evie Spanos




                                                          1
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                   EXHIBIT 27
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                   EXHIBIT 28
  Case 1:23-cv-00328-JLH-SRF Document 125-3 Filed 02/20/24 Page 272 of 314 PageID #:
ChemRxiv'                              4876                 .26434/chemrxiv.12732689.v1



Bifunctional Small Molecules That Mediate the Degradation of
Extracellular Proteins
David Caianiello, Mengwen Zhang, Jason Ray, Jake Swartzel, Emily Branham, Egor Chirkin, Venkata
Sabbasani, Angela Gong, David Mcdonald, Viswanathan Muthusamy, David Spiegel

Submitted date: 29/07/2020 Posted date: 29/07/2020
Licence: CC BY-NC-ND 4.0
Citation information: Caianiello, David; Zhang, Mengwen; Ray, Jason; Swartzel, Jake; Branham, Emily;
Chirkin, Egor; et al. (2020): Bifunctional Small Molecules That Mediate the Degradation of Extracellular
Proteins. ChemRxiv. Preprint. https://doi.org/10.26434/chemrxiv.12732689.v1


Targeted protein degradation (TPD) has emerged as a promising and exciting therapeutic strategy. The
majority of existing TPD technologies rely on the ubiquitin-proteasome system, and are therefore limited to
targeting intracellular proteins. To address this limitation, we developed a class of modularly designed,
bifunctional synthetic molecules called MoDE-As (Molecular Degraders of Extracellular proteins through the
Asialoglycoprotein receptor (ASGPR)), which are capable of mediating the degradation of extracellular
proteins. MoDE-A molecules mediate the formation of a ternary complex between a target protein and the
ASGPR, which is expressed primarily on hepatocytes. The target protein is then endocytosed and degraded
by lysosomal proteases. We demonstrated the modularity of the MoDE-A technology by synthesizing
bifunctional molecules that induce the degradation of both antibody and pro-inflammatory cytokine proteins.
To our knowledge, these data represent the first experimental evidence that non-proteinogenic, synthetic
molecules can be employed for the TPD of extracellular proteins both in vitro and in vivo. We believe that TPD
mediated by the MoDE-A technology will have widespread applications for disease treatment.




File list (2)
20200729 main.pdf (1.28 MiB)                                                view on ChemRxiv       download file

20200728 Supp .pdf (1.45 MiB)                                               view on ChemRxiv       download file




                       Exhibit 5 ISO Defendants' Opening Discovery Letter Brief
                                                                                                     DEFS00021699
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     Title: Bifunctional small molecules that mediate the degradation of
     extracellular proteins


     Authors: David F. Caianiello', Mengwen Zhang1,2, Jason D. Ray', Jake C. Swartze11,3, Emily M.
 5   J. Branham', Egor Chirkin', Venkata R. Sabbasani', Angela Z. Gong', David M. McDonald',
     Viswanathan Muthusamy4, David A. Spiegel''*

     Affiliations:
     'Department of Chemistry, Yale University. 225 Prospect Street, New Haven, CT 06511 (USA).
     2Department of Molecular Biophysics and Biochemistry, Yale University. 266 Whitney Avenue,
10   New Haven, CT 06511 (USA).
     3Department of Molecular, Cellular, and Developmental Biology, Yale University. 260 Whitney
     Ave, New Haven, CT 06511 (USA).
     4Yale Center for Precision Cancer Modeling, Yale University School of Medicine, New Haven,
     CT (USA).
15
     *Correspondence to: david.spiegel@yale.edu

     Abstract: Targeted protein degradation (TPD) has emerged as a promising and exciting
     therapeutic strategy. The majority of existing TPD technologies rely on the ubiquitin-proteasome
20   system, and are therefore limited to targeting intracellular proteins. To address this limitation, we
     developed a class of modularly designed, bifunctional synthetic molecules called MoDE-As
     (Molecular Degraders of Extracellular proteins through the Asialoglycoprotein receptor
     (ASGPR)), which are capable of mediating the degradation of extracellular proteins. MoDE-A
     molecules mediate the formation of a ternary complex between a target protein and the ASGPR,
25   which is expressed primarily on hepatocytes. The target protein is then endocytosed and degraded
     by lysosomal proteases. We demonstrated the modularity of the MoDE-A technology by
     synthesizing bifunctional molecules that induce the degradation of both antibody and pro-
     inflammatory cytokine proteins. To our knowledge, these data represent the first experimental
     evidence that non-proteinogenic, synthetic molecules can be employed for the TPD of extracellular
30   proteins both in vitro and in vivo. We believe that TPD mediated by the MoDE-A technology will
     have widespread applications for disease treatment.


     One Sentence Summary: Bifunctional molecules that engage both a target protein and an
     endocytic receptor are able to induce the lysosomal degradation of extracellular proteins.
35
     Main Text:
     Extracellular protein levels are elevated in many different conditions, and technologies that
     mediate their removal from circulation have the potential to ameliorate a wide range of disease
     states (1, 2). One mechanism to decrease the serum concentration of an extracellular protein is to
40   induce its endocytosis and subsequent degradation by lysosomal proteases. In order to accomplish

                                                      1


                      Exhibit 5 ISO Defendants' Opening Discovery Letter Brief
                                                                                                     DEFS00021700
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     this goal, we developed a class of bifunctional molecules collectively termed Molecular Degraders
     of Extracellular proteins through the Asialoglycoprotein receptor (MoDE-As). MoDE-A
     molecules mediate the formation of a ternary complex between a target protein and the endocytic
     asialoglycoprotein receptor (ASGPR). The target protein is then endocytosed, trafficked to
 5   lysosomes, and degraded by lysosomal proteases (Figure 1A). To validate our technology, we
     focused on inducing the degradation of a model antibody that binds dinitrophenol (DNP). We also
     expanded our technology to induce the uptake of the cytokine macrophage migratory inhibitory
     factor (MIF), which is implicated in numerous inflammatory diseases (3). The bifunctional
     molecules developed through this work represent the first reported extracellular protein degrading
10   technology validated in vivo.
     We chose to degrade proteins via ASGPR-dependent mechanisms for several reasons. ASGPR is
     primarily expressed on hepatocytes, which are capable of catabolizing large quantities of protein
     with minimal toxicity compared to other cell types (4-8). Indeed, ASGPR controls the half-lives
     of several endogenous circulating proteins, including hormones (9), alkaline phosphatases (10),
15   and proteins terminating in Siaa2,6Gal glycans (11). ASGPR also plays a role in controlling the
     concentration of platelets in serum (12). Because of its well-defined binding requirements (13) and
     its abundant expression on hepatocytes, ASGPR has been used extensively to deliver therapeutic
     agents to the liver (14-18). Ligands for ASGPR are also readily available. Molecules that display
     multiple galactose-type sugars — such as the desialylated serum glycoproteins that aided in the
20   discovery of ASGPR (19) — bind strongly to the receptor (20). For example, the ASGPR-binding
     trivalent GalNAc motif utilized in MoDE-A molecules, which is similar to those used in previous
     studies (21), is estimated to bind to multimeric ASGPR with Kd values in the low nanomolar range
     (22).
     ASGPR mediates protein endocytosis through a well-studied mechanism. Each functional receptor
25   is composed of two or more ASGPR protein chains, each with an extracellular C-type lectin
     domain with modest affinity to N-acetylgalactosamine (GalNAc) and related carbohydrates (23).
     Following endocytosis, ASGPR' s binding to its sugar ligands is disrupted, and the dissociated
     protein ligand is trafficked to lysosomes where it is ultimately degraded by lysosomal proteases
     (24, 25).
30   The bifunctional MoDE-A molecules developed in this work contain three domains: an ASGPR-
     binding motif, a PEG spacer, and a protein-binding ligand (Figure 1A). D-MoDE-A and M-MoDE-
     A share the same ASGPR binding motif, but feature different target-binding termini (Figure 1B).
     To bind to a-DNP antibodies, D-MoDE-A contains a dinitrophenyl group connected through a
     PEG linker to the ASGPR-binding motif. In contrast, the MIF-binding molecule M-MoDE-A was
35   synthesized by incorporating a carboxylic acid-terminated MIF tautomerase inhibitor with a Kd of
     approximately 53 nM (26). Full synthetic methods and characterization are available in the
     supporting information.




                                                     2


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      A                      „laC                           B                                MoDE-A

     MODE-Acrt                                                               ASGPR-binding                Target-binding
                          Circulation                                          terminus                     terminus



                                                                / HO                                0
                                                                \ HO                            N          O
                                                                             NHAc




                                                                  D-MoDE-A, R=                          M-MoDE-A, R=

                                                                       02N          NO2


                      0                                                 3H

       ASGPR        N-acetyl     Target    Target protein
                 galactosamine   protein       ligand


    Figure 1: Bifunctional MoDE-A molecule design and chemical structures.
    A) Schematic of uptake of target proteins via ASGPR mediated by MoDE-A bifunctional
5   molecules.
    B) Chemical structure of bifunctional molecules D-MoDE-A and M-MoDE-A.




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                                           Jake Swartzel, PhD (He/Him) · 3rd
                                           Chemist and Project Lead at Nurix Therapeutics
                                                Nurix Therapeutics
                                                Yale University
                                           San Francisco, California, United States · Contact info
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                                           About
                                           During my PhD I worked on the development of several novel and exciting
                                           bifunctional molecule technologies: PROTACs for new classes of protein targets,
                                           PhosTACs, protein half-life extension strategies, and ASGPR-targeted degraders
                                           (MoDE-As/LYTACs) for circulating proteins. If it forms a ternary complex or acts
                                           as a molecular glue, I’m interested in it!
                                           I continue to work in the bifunctional molecule/TPD space, developing next-gen
                                           therapies at Nurix!
                                           Outside of the lab, I like to do yoga, make music, get tattoos, and hang out with
                                           my cat.
                                           Check out my music: https://linktr.ee/skorpiondnb

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                                           Experience
                                                    Scientist, Project Lead, Medicinal Chemistry
                                                    Nurix Therapeutics · Full-time
                                                    Dec 2021 - Present · 2 yrs 3 mos
                                                    San Francisco Bay Area
                                                    PhD (Chemistry) - Craig Crews Laboratory - Yale
                                                    Yale University · Full-time
                                                    May 2017 - Dec 2021 · 4 yrs 8 mos

                                           Education
                                                    Yale University
                                                    Doctor of Philosophy - PhD, Chemistry/Chemical Biology
                                                    May 2017 - Nov 2021
                                                    The University of Texas at Austin
                                                    Bachelor of Science - BS, Biochemistry
                                                    2013 - 2017

                                           Skills
                                           Organic Synthesis
                                                Endorsed by Mehrdad (Mike) Shadmehr who is highly skilled at this
                                                Endorsed by 1 people in the last 6 months
                                                3 endorsements

                                           Teaching
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                   EXHIBIT 30
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  BIOHAVEN THERAPEUTICS, LTD. and
  YALE UNIVERSITY,

       Plaintiffs,

       v.                                               C.A. No. 23-328-CFC

  AVILAR THERAPEUTICS, INC., a Delaware
  corporation, and RA CAPITAL
  MANAGEMENT GP, LLC, a Delaware
  corporation,

       Defendants.

       PLAINTIFFS BIOHAVEN THERAPEUTICS, LTD. AND YALE UNIVERSITY’S
                        AMENDED ESI DISCLOSURES

            Pursuant to Section 2 of the October 12, 2023 Order Regarding Discovery of Electronically

  Stored Information [D.I. 68], Plaintiffs Biohaven Therapeutics, Ltd. (“Biohaven”) and Yale

  University (“Yale”) (collectively “Plaintiffs”) hereby provide the following amended disclosures.

  Plaintiffs reserves the right to modify, amend, retract, and/or supplement these disclosures.

  I.        Yale Custodians.




  1
   The “Asserted Trade Secrets” refer to the trade secrets identified in Plaintiffs’ October 27, 2023
  “Identification of Trade Secrets.”

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  II.   Biohaven Custodians.




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  III.   Non-custodial ESI Data Sources




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  IV.    Inaccessible Data Sources

         At this this time, Plaintiffs do not believe there are any data sources likely to contain

  discoverable ESI that are not reasonably accessible under Fed. R. Civ. P. 26(b)(2)(C)(i). If

  Plaintiffs become aware of any such sources, Plaintiffs will promptly supplement their disclosures.

  V.     Third-Party Discovery




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   Dated: November 21, 2023

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                                  CERTIFICATE OF SERVICE

         I, Brian E. Farnan, hereby certify that on November 21, 2023, a copy of Plaintiffs

  Biohaven Therapeutics, Ltd. and Yale University’s Amended ESI Disclosures was served on the

  following as indicated:

  Via E-Mail                                      Via E-Mail
  Brad Sorrels                                    Amy H. Candido
  Kaitlin E. Maloney                              Eric P. Tuttle
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  Management GP, LLC, and Milind                  Management GP, LLC, and Milind
  Deshpande                                       Deshpande


                                                      /s/ Brian E. Farnan
                                                      Brian E. Farnan (Bar No. 4089)
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                   EXHIBIT 31
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  From:        Spiegel, David [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
               (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=0835116661DB416199961B1ECE52169C-DS256]
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Targeted Degradation of Extracellular
             Proteins




                 David A. Spiegel, MD, PhD
               Chemical Biology Fall Retreat
                   October 14th, 2022
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                   EXHIBIT 32
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           MODA
           From:                    Reese Caldwell <reese.caldwell©biohavenpharma.com>
           To:                      Donnie McGrath <donnie.mcgrath@biohavenpharma.com>
           Cc:                      Gene Dubowchik <gene.dubowchik©biohavenpharma.com>
           Date:                    Fri, 16 Oct 2020 14:36:14 -0400




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                                                  e: reese.caldwell©biohavenpharma.com                      I w: biohavenpharma.com
                                                  a:   215 Church Street              , New Haven                          , CT   , 06510

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HIGHLY CONFIDENTIAL                                                                                                                         BIO_00003434
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                   EXHIBIT 33
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                  IN THE UNITED STATES DISTRICT COURT
                       FOR DISTRICT OF DELAWARE

   BIOHAVEN THERAPEUTICS LTD.
   and YALE UNIVERSITY,
             Plaintiffs,                      C.A. No. 1:23-cv-00328-CFC
          v.
   AVILAR THERAPEUTICS, INC., a
   Delaware corporation, RA CAPITAL
   MANAGEMENT GP, LLC, a
   Delaware corporation, and MILIND
   DESHPANDE, an individual,
                Defendants.


            DEFENDANTS AVILAR THERAPEUTICS, INC. AND
                RA CAPITAL MANAGEMENT GP, LLC’S
           FIRST SET OF INTERROGATORIES TO PLAINTIFFS
        BIOHAVEN THERAPEUTICS LTD. AND YALE UNIVERSITY

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,
  Defendants Avilar Therapeutics, Inc. and RA Capital Management GP, LLC
  request that Plaintiffs Biohaven Therapeutics Ltd. and Yale University provide
  written responses under oath to the following interrogatories (“Interrogatories”)
  within thirty (30) days of service. Each Interrogatory is to be read in accordance
  with the Definitions and Instructions that follow.
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                                     DEFINITIONS
        1.     These Definitions apply to all of the Instructions and Interrogatories
  below.
        2.     The term “Biohaven” means Biohaven Therapeutics Ltd., and its
  present and former directors, officers, professors, administrators, employees,
  predecessors in interest, successors in interest, servants, agents, attorneys,
  consultants, partners, associates, investigators, representatives, accountants,
  financial advisors, distributors, and any other person acting on their behalf,
  pursuant to their authority, or subject to their control.
        3.     The term “Yale” means Yale University, and its present and former
  directors, officers, professors, administrators, employees, predecessors in interest,
  successors in interest, servants, agents, attorneys, consultants, partners, associates,
  investigators, representatives, accountants, financial advisors, distributors, and any
  other person acting on their behalf, pursuant to their authority, or subject to their
  control. For clarity and not limitation, the term “Yale” includes Dr. Spiegel, the
  Spiegel Lab, Dr. Crews, and the Crews Lab, as those terms are defined herein.
        4.     The terms “Plaintiffs,” “You” and “Your” mean Biohaven and Yale,
  and their present and former directors, officers, professors, administrators,
  employees, predecessors in interest, successors in interest, servants, agents,
  attorneys, consultants, partners, associates, investigators, representatives,
  accountants, financial advisors, distributors, and any other person acting on their
  behalf, pursuant to their authority, or subject to their control. For clarity and not
  limitation, the terms “Plaintiffs,” “You” and “Your” include Dr. Spiegel, the
  Spiegel Lab, Dr. Crews, and the Crews Lab, as those terms are defined herein.
        5.     The term “Dr. Spiegel” means Yale Professor Dr. David A. Spiegel.




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        6.     The term “Spiegel Lab” means the Yale laboratory headed by Yale
  Professor Dr. David A. Spiegel, including any undergraduate students, post-
  graduate students, and other university personnel who work within that laboratory.
        7.     The term “Dr. Crews” means Yale Professor Dr. Craig Crews.
        8.     The term “Crews Lab” means the Yale laboratory headed by Yale
  Professor Dr. Craig Crews, including any undergraduate students, post-graduate
  students, and other university personnel who work within that laboratory.
        9.     The term “Avilar” means Avilar Therapeutics, Inc., and its present
  and former directors, officers, professors, administrators, employees, predecessors
  in interest, successors in interest, servants, agents, attorneys, consultants, partners,
  associates, investigators, representatives, accountants, financial advisors,
  distributors, and any other person acting on their behalf, pursuant to their authority,
  or subject to their control.
        10.    The term “RA Capital” means RA Capital Management GP, LLC, and
  its present and former directors, officers, professors, administrators, employees,
  predecessors in interest, successors in interest, servants, agents, attorneys,
  consultants, partners, associates, investigators, representatives, accountants,
  financial advisors, distributors, and any other person acting on their behalf,
  pursuant to their authority, or subject to their control.
        11.    The term “Defendants” means Avilar and RA Capital, and their
  present and former directors, officers, employees, predecessors in interest,
  successors in interest, servants, agents, attorneys, consultants, partners, associates,
  investigators, representatives, accountants, financial advisors, distributors, and any
  other person acting on their behalf, pursuant to their authority, or subject to their
  control.
        12.    The terms “document” and “documents” have the broadest possible
  meaning under Rule 34(a) of the Federal Rules of Civil Procedure and include

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  “writing(s)” and “recording(s)” under Rule 1001 of the Federal Rules of Evidence,
  “tangible things” under Rules 26 and 34 of the Federal Rules of Evidence, and all
  of the following matter in Your actual or constructive possession, custody, or
  control: all written, typed, printed, recorded, textual, graphic or photographic
  matter, software, source code, and object code, however produced or reproduced,
  any notes or drafts, and all copies on which any mark, alteration, writing, or any
  other change from the original has been made.
        13.    The terms “communication” and “communications” mean any
  transmission of information between persons or entities by any means or medium,
  whether in original, draft, or copy form, whether stored in hard copy, on tape, or
  electronically, and whether oral or in writing, including: conversations;
  correspondence; electronic mails; telexes; facsimile transmissions; text messages;
  social media posts and chats; telecopies; recordings; telephone or message logs;
  voicemails; notes or memoranda; and any translations.
        14.    A document, thing, or communication “relating to,” “related to,”
  “relate to,” “referring to,” “refer to,” “concerning,” “associated with,” “connected
  with,” or “regarding” means all documents, things, or communications that directly
  or indirectly or in whole or in part constitute, contain, embody, concern, evidence,
  show, comprise, reflect, identify, state, refer to, report on, deal with, comment on,
  respond to, describe, involve, mention, discuss, record, address, analyze, support,
  negate, or are in any way pertinent to that subject.
        15.    The terms “person” and “persons” mean any individual, firm,
  association, organization, joint venture, partnership or corporation.
        16.    The terms “third party” and “third parties” mean any individual, firm,
  association, organization, joint venture, partnership or corporation other than
  Plaintiffs and Defendants.



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        17.    The term “date” means the exact day, month and year, if
  ascertainable, or if not, Your best approximation thereof.
        18.    The terms “include,” “include,” and “including” mean include or
  including without limitation.
        19.    The term “any” shall include the word “all,” and vice versa.
        20.    The terms “and,” “or,” and “and/or” shall be construed conjunctively
  and disjunctively, whichever makes the discovery request more inclusive so as to
  bring within the scope of the request all documents and information that might
  otherwise be construed to be outside of its scope.
        21.    Singular forms of nouns and pronouns encompass their plural forms
  and vice versa, and any verbs encompass all tenses. Any pronoun shall be
  construed to refer to the masculine, feminine or neutral gender, as in each case is
  most appropriate.
        22.    The term “Complaint” means the sealed version of Plaintiffs’
  Complaint in this action, filed March 24, 2023.
        23.    The term “Answer” means Defendants Avilar Therapeutics, Inc. and
  RA Capital Management GP, LLC’s First Amended Answer and Affirmative
  Defenses to Plaintiffs’ Complaint, filed June 30, 2023 (D.I. 27).
        24.    The terms “Confidential Disclosure Agreement” and “CDA” mean the
  Confidential Disclosure Agreement between Yale and RA Capital Management
  Group, LLC, effective April 10, 2019, a copy of which is attached as Exhibit 1 to
  the Complaint (D.I. 20-1).
        25.    The terms “Trade Secret” and “Trade Secrets” mean any item of non-
  public information Plaintiffs contend they treated as confidential, they disclosed to
  one or more Defendants in confidence, and one or more Defendants unlawfully
  used, disclosed or acquired such item.



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        26.    The terms “Asserted Trade Secret” and “Asserted Trade Secrets”
  mean each of the alleged Trade Secrets identified by Plaintiffs in response to
  Interrogatory No. 1.
        27.    The term “identify with precision and specificity each and every
  alleged Trade Secret” means to provide a numbered list of each individual alleged
  Trade Secret (with each number constituting a separate Trade Secret) with a
  specific description of each such alleged Trade Secret in such a manner that the
  exact identity, scope, boundaries, constitutive elements, and content of each such
  alleged Trade Secret are fully disclosed in writing, in contrast to an agglomerated
  set of conclusory phrases that does not separately list and describe each such
  alleged Trade Secret, in contrast to a mere list of documents or file names, and
  with precision far above that required by any applicable pre-discovery Trade Secret
  claim identification requirement. If Plaintiffs contend that a particular combination
  of information constitutes an alleged Trade Secret, “identify with precision and
  specificity each and every alleged Trade Secret” shall also mean to identify the
  unique combination of information that Plaintiffs contend together constitutes an
  alleged Trade Secret.
        28.    The term “Spiegel Patent” means any patent or patent application
  (including unpublished provisional patent applications) regarding extracellular
  protein degradation in which Dr. Spiegel is listed as an inventor, including the
  following United States patent applications: 17046,221; 17654,984; 17654,990;
  17695,259; 17768,145; and 17768,166.
        29.    The term “Yale Patent” means any patent or patent application
  (including unpublished provisional patent applications) regarding extracellular
  protein degradation assigned to Yale or in which any person affiliated with Yale is
  listed as an inventor.



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        30.    The term “Biohaven Patent” means any patent or patent application
  (including unpublished provisional patent applications) regarding extracellular
  protein degradation assigned to Biohaven or in which any person affiliated with
  Biohaven is listed as an inventor.



                                   INSTRUCTIONS
        1.     These Interrogatories are to be answered separately by each Plaintiff
  in writing under oath within thirty (30) days after the date of service hereof. If
  You acquire additional knowledge or information after answering the
  Interrogatories which requires supplementation of Your responses under the
  provisions of Fed. R. Civ. P. 26(e), it is requested that You supplement Your
  responses within ten (10) days after such additional knowledge or information is
  acquired.
        2.     These Interrogatories call for all information (including any
  information contained in or on any document) that is known or available to You,
  including all information in the possession of or available to Your attorneys,
  agents, employees, representatives, investigators or other persons who have or
  have obtained information on Your behalf.
        3.     With regard to each Interrogatory, should the answer require the
  identification of a person or entity, state the full name, last known residence,
  occupation, last known employer or business affiliation, last known title or
  business description, last known business address, last known telephone number,
  relationship to Plaintiffs or Defendants including all positions, employments or
  affiliations held by such person with Plaintiffs or Defendants and the dates such
  positions, employments or affiliations were held, and describe in detail all facts
  pertaining to the subject matter of this action known by each such person or entity.


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        4.     With regard to each Interrogatory, should the answer require the
  identification of documents, provide a description of the documents and a citation
  to the unique production number(s) corresponding to such documents.
        5.     If documents are being produced in lieu of answers pursuant to Fed.
  R. Civ. P. 33(d), or if Your answer can be found in documents produced in
  response to a specific document request, identify, by document production number
  or similar means, the specific documents wherein the answer is located and, unless
  apparent on the face of the document, state where within the document the answer
  can be found.
        6.     If only a part of a discovery request is objectionable, the remainder of
  the request shall be answered. If an objection is made to an Interrogatory, or a part
  of an Interrogatory, the specific ground for the objection shall be set forth clearly
  in the response to that Interrogatory. As required by Fed. R. Civ. P. 33(b)(1), You
  shall answer each Interrogatory to the extent that it is not objectionable.
        7.     If any documents referred to in Your response to these Interrogatories
  were, but are no longer in Your possession, custody or control, state what
  disposition was made of them and when. If any document referred to in response
  to these Interrogatories has been lost or destroyed, state in detail the circumstances
  of such loss or destruction and identify each document lost or destroyed (and all
  files that contained such documents).
        8.     If, in responding to any of these Interrogatories, You encounter any
  ambiguity in construing either the Interrogatory or a Definition or Instruction
  relevant to it, You shall set forth the ambiguity and the construction selected or
  used in responding to the Interrogatory.
        9.     If You contend that any of these Interrogatories call for information
  protected by the attorney-client privilege, work product protection or any other
  claimed privilege, You shall state in Your objection the basis for any assertion of

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  privilege, shall identify the nature and general subject matter of any withheld
  information, document or communication and shall identify any communications
  and documents encompassed by the assertion of the privilege by stating the
  privilege being asserted, the date of said communication or document, the names
  of persons who were parties to the communication, and the purpose of the
  communication or document for which the privilege is claimed.
        10.    If, after conducting a reasonable investigation and exercising due
  diligence to secure the information requested, an individual Interrogatory or any
  part cannot be fully answered, You shall answer each Interrogatory to the fullest
  extent possible, state the extent of Your knowledge, the reasons for Your inability
  to fully answer, and all information, knowledge or belief You may have regarding
  the unanswered portion.
        11.    The Interrogatories shall be deemed continuing and if, after answering
  the Interrogatories, You acquire additional information or knowledge responsive to
  any of the Interrogatories, You are required to promptly provide supplementary
  responses to the Interrogatories as required by Fed. R. Civ. P. 26(e).




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                                   INTERROGATORIES

  INTERROGATORY NO. 1:

  Separately for each Defendant, identify with precision and specificity each and

  every alleged Trade Secret that Plaintiffs contend that Defendant unlawfully

  acquired, used, or disclosed.1

  INTERROGATORY NO. 2:

  Separately for each Asserted Trade Secret, identify with precision and specificity

  every person and entity who participated in any way in the development or creation

  of the Asserted Trade Secret, the date(s) of such development or creation, the time

  and financial investment spent on such development or creation, and any

  documents memorializing or regarding such development or creation.




  1
   The phrase “identify with precision and specificity each and every alleged Trade
  Secret” as used in Interrogatory No. 1 means to provide a numbered list of each
  individual such alleged Trade Secret (with each number constituting a separate
  Trade Secret) with a specific description of each such alleged Trade Secret in such
  a manner that the exact identity, scope, boundaries, constitutive elements, and
  content of each such alleged Trade Secret are fully disclosed in writing, in contrast
  to an agglomerated set of conclusory phrases that does not separately list and
  describe each such alleged Trade Secret, in contrast to a mere list of documents or
  file names, and with precision far above that required by any applicable pre-
  discovery Trade Secret claim identification requirement. If Plaintiffs contend that
  a particular combination of information constitutes an alleged Trade Secret,
  “identify with precision and specificity each and every alleged Trade Secret” shall
  also mean to identify the unique combination of constitutive elements that
  Plaintiffs contend together constitutes an alleged Trade Secret.

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  INTERROGATORY NO. 3:

  Separately for each Asserted Trade Secret, identify with precision and specificity

  each and every measure taken by each Plaintiff to safeguard and keep secret the

  Asserted Trade Secrets from their creation until the present time, including the

  date(s) such measures were employed, all witnesses to such measures and any

  documents constituting, evidencing or memorializing such measures.

  INTERROGATORY NO. 4:

  Separately for each Asserted Trade Secret, identify with precision and specificity

  the independent economic value, if any, to each Plaintiff from each such Asserted

  Trade Secret not being generally known to, and not being readily ascertainable

  through proper means by, another person who can obtain economic value from the

  disclosure or use of the information.

  INTERROGATORY NO. 5:

  Separately for each Asserted Trade Secret, identify with precision and specificity

  every person or entity to whom Plaintiffs have ever disclosed such Asserted Trade

  Secret at any time (i.e., before or after the initiation of this lawsuit), including the

  date(s) of all such disclosures, all witnesses to each such disclosure and any

  documents constituting, evidencing or memorializing each such disclosure.




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  INTERROGATORY NO. 6:

  Separately for each Asserted Trade Secret, identify with precision and specificity

  how Plaintiffs contend each Defendant received or otherwise obtained each

  Alleged Trade Secret, including the date(s) when Plaintiffs contend each

  Defendant received or obtained each Alleged Trade Secret, the exact means by

  which each Defendant received or obtained each Alleged Trade Secret, and any

  documents constituting, evidencing or memorializing such receipt.

  INTERROGATORY NO. 7:

  Separately for each Asserted Trade Secret that Plaintiffs contend Defendants used

  without Plaintiffs’ authorization or consent, identify with precision and specificity

  each such alleged use and which Defendant(s) made the alleged use, including the

  exact information allegedly used, all date(s) of each such alleged unauthorized use,

  all place(s) of such unauthorized use, the identity of all person(s) who made each

  such unauthorized use, all witnesses to each such unauthorized use, the exact

  manner in which each such unauthorized use was effectuated and any documents

  constituting, evidencing or memorializing each such unauthorized use.

  INTERROGATORY NO. 8:

  Separately for each Asserted Trade Secret that Plaintiffs contend Defendants

  disclosed without Plaintiffs’ authorization or consent, identify with precision and

  specificity each such alleged disclosure and which Defendant(s) made the alleged


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  disclosure, including the exact information allegedly disclosed, all date(s) of each

  such alleged unauthorized disclosure, all place(s) of such unauthorized disclosure,

  the identity of all person(s) who made each such unauthorized disclosure, all

  witnesses to each such unauthorized disclosure, the exact manner in which each

  such unauthorized disclosure was effectuated and any documents constituting,

  evidencing or memorializing each such unauthorized disclosure.

  INTERROGATORY NO. 9:

  Separately for each Asserted Trade Secret, identify with precision and specificity

  all facts in support of Your contention that such Asserted Trade Secret was neither

  generally known nor readily ascertainable by proper means.

  INTERROGATORY NO. 10:

  Separately for each Asserted Trade Secret, identify with precision and specificity

  whether such Asserted Trade Secret was ever included, disclosed or described in

  any Spiegel Patent, Yale Patent or Biohaven Patent, and identify with precision

  and specificity any Spiegel Patent, Yale Patent or Biohaven Patent which includes,

  discloses or describes such Asserted Trade Secret and where (by page number and,

  if applicable, line number) the Asserted Trade Secret is included, described or

  disclosed.




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  INTERROGATORY NO. 11:

  With respect to Plaintiffs’ cause of action for breach of contract, identify with

  precision and specificity all facts that Plaintiffs contend constitute a breach of the

  Confidential Disclosure Agreement, including the date(s) of each such breach, the

  specific provision(s) of the CDA breached, the conduct that constituted each such

  breach, the person(s) who participated in each such breach, the witness(es) to each

  such breach, and any documents constituting, evidencing or memorializing each

  such breach.

  INTERROGATORY NO. 12:

  State with specificity and precision the legal and factual bases for Your contention

  that the information shared by Dr. Spiegel or Yale with RA Capital pursuant to the

  Confidential Disclosure Agreement was not known to RA Capital prior to the

  disclosure by Dr. Spiegel or Yale, did not become publicly known through no fault

  or omission attributable to RA Capital, was not given to RA Capital by a third

  party under no obligation of confidentiality to Yale, or was not independently

  developed by RA Capital without the aid, application or use of the confidential

  information shared by Dr. Spiegel or Yale.




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  Dated: July 18, 2023
                                       WILSON SONSINI GOODRICH & ROSATI,
                                       P.C.

                                       /s/ Ian R. Liston
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                                 CERTIFICATE OF SERVICE

             I hereby certify that on the 18th day of July, 2023, a copy the foregoing

  document was served upon the following counsel via electronic mail.



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                                                    /s/ Ian R. Liston
                                                    Ian R. Liston




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